                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


             DEBTORS’ APPLICATION FOR ENTRY OF INTERIM AND FINAL
           ORDERS AUTHORIZING THE EMPLOYMENT AND RETENTION OF
      M-III ADVISORY PARTNERS, LP AS FINANCIAL ADVISOR TO THE DEBTORS

              Remington Outdoor Company, Inc. and its affiliated debtors, as debtors and debtors in

 possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

 11 Cases”) hereby file this application (the “Application”) for entry of an interim order,

 substantially in the form of Exhibit B hereto (the “Proposed Interim Order”), and a final order,

 substantially in the form of Exhibit C hereto (the “Proposed Final Order,” and together with the

 Proposed Interim Order, the “Proposed Orders”) pursuant to section 327(a) of title 11 of the

 United States Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”) and Rules 2014(a) and

 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing the

 employment and retention of M-III Advisory Partners, LP (“M-III”), as financial advisor to the

 Debtors as of the Petition Date (as defined below), in accordance with the terms and conditions of

 that certain engagement letter dated April 23, 2020, including any amendments and schedules



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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.

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 thereto (the “Engagement Agreement”), attached as Exhibit 1 to the Proposed Orders. In support

 of this Application, the Debtors submit the Declaration of Colin M. Adams in Support of Debtors’

 Application for Entry of Interim and Final Orders Authorizing the Employment and Retention of

 M-III Advisory Partners, LP as Financial Advisor to the Debtors (the “Adams Declaration”),

 attached hereto as Exhibit A, and respectfully represent as follows:

                                  JURISDICTION AND VENUE

           1.   This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Court may

 enter interim and final orders consistent with Article III of the United States Constitution.

           2.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           3.   The statutory and procedural predicates for the relief requested herein are

 Bankruptcy Code section 327(a) and Bankruptcy Rules 2014 and 2016. Compensation will be in

 accordance with sections 330 and 331 of the Bankruptcy Code.

                                   GENERAL BACKGROUND

           4.   On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

 businesses as debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No party has requested the appointment of a trustee or examiner and no

 committee has been appointed or designated in these Chapter 11 Cases. The Debtors’ request for

 joint administration of these Chapter 11 Cases for procedural purposes only is currently pending.

           5.   The Debtors are one of America’s oldest and largest manufacturers of firearms,

 ammunition and related products for commercial, military, and law enforcement customers

 throughout the world. The Debtors employ approximately 2,100 full-time employees and operate



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 seven manufacturing facilities located across the United States.                         The Debtors’ corporate

 headquarters is located in Huntsville, Alabama.

            6.       Additional information regarding the Debtors’ businesses, assets, capital structure,

 and the circumstances leading to the filing of these Chapter 11 Cases is set forth in the Declaration

 of Ken D’Arcy in Support of Chapter 11 Petitions and First Day Pleadings of Remington Outdoor

 Company, Inc. and its Affiliated Debtors and Debtors in Possession (the “First Day

 Declaration”),2 filed contemporaneously herewith and incorporated by reference herein.

                                               RELIEF REQUESTED

            7.       By this Application, the Debtors seek entry of interim and final orders, substantially

 in the forms attached hereto as Exhibit B and Exhibit C, respectively, to employ and retain M-III

 pursuant to section 327(a) of the Bankruptcy Code as their financial advisor in these Chapter 11

 Cases, effective as of the Petition Date.

                                      BASIS FOR RELIEF REQUESTED

            A.       M-III’s Qualifications

            8.       To effectively manage their transition into and continuation of operations in these

 Chapter 11 Cases, the Debtors require a qualified and experienced financial advisor with the

 resources, capabilities and experience of M-III. As described in the Adams Declaration, M-III has

 a wealth of experience in providing financial advisory services to distressed companies in complex

 restructurings, including those in industries similar to the Debtors. M-III has an excellent

 reputation for the services it has rendered in large and complex chapter 11 cases on behalf of

 debtors and creditors throughout the United States.                     M-III’s expertise includes significant

 experience assisting distressed companies with day-to-day management activities, including


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     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day Declaration.

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 development of pro forma financials and business plans, cash flow management, and

 implementation of liquidity-enhancing and cost-saving strategies.

           9.    In addition, as a result of the significant prepetition work performed on behalf of

 the Debtors, M-III has acquired significant knowledge of the Debtors and their businesses and is

 intimately familiar with the Debtors’ financial affairs, systems, assets, capital structure, operations

 and related matters. During its prepetition engagement, M-III’s services have included a wide

 range of activities targeted at stabilizing and improving the Debtors’ financial position, including:

 (i) developing or validating forecasts, business plans, and related assessments of the business’s

 strategic position; (ii) monitoring and managing cash and cash flow; (iii) preparation and planning

 for chapter 11 filing and first-day relief; and (iv) designing and assessing financial restructuring

 alternatives.

           B.    Services to Be Provided

           10.   The Debtors anticipate that M-III will provide restructuring advisory services as M-

 III and the Debtors deem appropriate and feasible during these Chapter 11 Cases, including,

 without limitation, the following:

                    Assist the Debtors in the development and administration of its short-term cash
                     flow forecasting, budgeting and related methodologies, as well as its cash
                     management planning;

                    Assist the Debtors in connection with preparation for and conduct of a
                     reorganization process, including, without limitation, (i) development of
                     restructuring plans and strategic alternatives intended to maximize the
                     enterprise value and (ii) development and presentation of any related forecasts
                     and monthly operating plans and results that may be required by creditor
                     constituencies in connection with negotiations or by the Debtors for other
                     corporate purposes;

                    Assist the Debtors in obtaining and presenting such information as may be
                     required by the parties in interest to these Chapter 11 Cases and the bankruptcy
                     process, including any creditors’ committees and the Court, with such
                     information to include, among other things, budgets and financial models

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                     required in connection with any debtor-in-possession financing to be obtained
                     by the Debtors;

                    Assist the professionals who are representing the Debtors in the reorganization
                     process or who are working for the Debtors various stakeholders to coordinate
                     their efforts and individual work product in order to be consistent with the
                     Debtors’ overall restructuring goals;

                    Assist, if required, the Debtors in communications and negotiations with its
                     outside constituents, including creditors, trade vendors and their respective
                     advisors;

                    Provide such other services as are reasonable and customary for a financial
                     advisor in connection with the administration and prosecution of a bankruptcy
                     proceeding; and

                    Provide such additional services as M-III and the Debtors shall otherwise agree
                     in writing.

           C.    No Duplication of Services

           11.   The services provided by M-III are distinct and specific financial advising and

 consulting services, and such services will complement and not duplicate the services rendered by

 any other professional retained in these Chapter 11 Cases. As set forth in the Adams Declaration,

 M-III understands that the Debtors have retained and may retain additional professionals during

 the term of the engagement and M-III agrees to work cooperatively with such professionals to

 integrate any respective work conducted by the professionals on behalf of the Debtors.

           D.    Professional Compensation

           12.   In consideration of the services to be provided by M-III pursuant to the terms of the

 Engagement Agreement and subject to Court approval, the applicable provisions of the Bankruptcy

 Code and the Bankruptcy Rules, the Debtors have agreed to the following fee structure (the “Fee

 Structure”) to (a) compensate M-III for the services set forth in the Engagement Agreement on

 an hourly basis in accordance with M-III’s ordinary and customary rates in effect on the date such




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 services are rendered; and (b) reimburse reasonable allocated and direct expenses incurred by M-

 III in connection with all services performed on behalf of the Debtors.

           13.   Under Bankruptcy Code section 327(a), the Debtors may retain M-III on reasonable

 terms and conditions.       The Debtors submit that the terms and conditions set forth in the

 Engagement Agreement, which are similar to the terms and conditions M-III offers to similar

 clients for similar services, are reasonable.

           14.   Before the Petition Date, M-III received an initial retainer of $200,000.00 (the

 “Retainer”), which may be replenished from time to time. Pursuant to the Engagement

 Agreement, M-III applied the Retainer to prepetition fees and expenses. During the 90 days prior

 to the commencement of these Chapter 11 Cases, the Debtors paid M-III a total of $1,185,244.25

 for M-III’s services to the Debtors in contemplation of, and in connection with, prepetition

 restructuring activities. M-III’s current estimate is that it received unapplied advance payments

 from the Debtors in excess of prepetition billings of approximately $120,000.00, which is subject

 to final determination after all prepetition billings and collections are reconciled. The unapplied

 residual Retainer will not be segregated by M-III in a separate account and (except as expressly

 contemplated by the Engagement Agreement) will be held until the end of these Chapter 11 Cases

 and applied to M-III’s finally approved fees in these proceedings.

           15.   The current standard U.S. hourly rates3 (expressed in USD), subject to periodic

 adjustments, that M-III professionals will charge pursuant to the Engagement Agreement are as

 follows:




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    Rates included in the Application are current M-III hourly rates and have been approved by the Debtors in
 accordance with the Engagement Agreement.

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                               Professional            Standard Rate
                          Managing Partner                 $1,150
                          Managing Director             $900 - $1,025
                          Director                       $725 - $825
                          Vice President                    $650
                          Senior Associate                  $550
                          Associate                         $475
                          Analyst                           $375

           16.   The hourly rates set forth above are M-III’s applicable hourly rates for its

 professionals and staff members for the engagement set forth in the Engagement Agreement.

 These hourly rates reflect M-III’s normal and customary billing practices for engagements of this

 complexity and magnitude. M-III revises its hourly rates periodically and M-III will provide notice

 of any rate increases to the Debtors, the Bankruptcy Administrator for the Northern District of

 Alabama (the “Bankruptcy Administrator”), and any official committee of unsecured creditors

 appointed in these Chapter 11 Cases.

           17.   In addition, M-III will invoice the Debtors for its reasonable and direct out-of-

 pocket expenses charged during these Chapter 11 Cases, which include, among other things,

 internet access, conference calls, overnight mail, messenger, travel, meals, and accommodations

 and other expenses, specifically related to this engagement.

           18.   The Debtors believe that the Fee Structure is reasonable and comparable to those

 generally charged by financial advisors and consultants of similar stature to M-III for comparable

 engagements, both in and out of chapter 11. The Fee Structure summarized above and described

 more fully in the Engagement Agreement is consistent with M-III’s normal and customary billing

 practices for comparably sized and complex cases and transactions, both in and out of court,

 involving the services to be provided in connection with Chapter 11 Cases. M-III and the Debtors

 believe that the Fee Structure is both reasonable and market-based. The Debtors therefore submit



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 that the Fee Structure is fair and reasonable under the standards required under Bankruptcy Code

 section 328(a).

           19.     To the best of the Debtors’ knowledge, information, and belief, and as set forth in

 the Adams Declaration, M-III has not shared or agreed to share any of its compensation from the

 Debtors or any other person, other than as permitted under Bankruptcy Code section 504. In

 addition, M-III has not received any promises as to compensation in connection with these Chapter

 11 Cases, other than as outlined in the Engagement Agreement.

           20.     M-III will seek the Court’s approval of its compensation for professional services

 rendered and reimbursement of expenses incurred in connection with these Chapter 11 Cases in

 compliance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and any

 other applicable procedures and orders of the Court, and consistent with the proposed

 compensation set forth in the Engagement Agreement.

           E.      Record Keeping

           21.     M-III will maintain records, in one-tenth of an hour increments, in support of any

 fees incurred in connection with its services in these Chapter 11 Cases by category and nature of

 the services rendered. M-III will file such records with the Court, which will include reasonably

 detailed descriptions of those services provided, the approximate time expended in providing those

 services, and the individuals who provided such professional services on behalf of the Debtors.

           22.     M-III will also maintain detailed records of any actual and necessary costs and

 expenses incurred in connection with the aforementioned services. M-III’s applications for

 compensation and expenses will be paid by the Debtors pursuant to the terms of the Engagement

 Agreement and in accordance with any procedures established by the Court.




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           F.    Indemnification Provisions

           23.   As part of the overall compensation payable to M-III under the terms of the

 Engagement Agreement, the Debtors have agreed to certain indemnification and contribution

 provisions described in Annex I to the Engagement Agreement (the “Indemnification

 Provisions”).    As more fully set forth in the Engagement Agreement, the Indemnification

 Provisions provide that the Debtors agreed to indemnify and hold harmless M-III and its affiliates,

 equity holders, partners, directors, employees, agents, representatives and contractors to the extent

 described in Annex I to the Engagement Agreement against all costs, fees, expenses, damages, and

 liabilities (including defense costs) associated with any pending or threatened third party claim,

 action or proceeding relating to or arising as a result of this engagement or the provision of the

 services, except to the extent such losses are determined to be the result of M-III’s bad faith, gross

 negligence, or willful misconduct.

           24.   The Debtors and M-III believe that the Indemnification Provisions are customary

 and reasonable for financial advisor engagements, both out-of-court and in chapter 11 cases.

 Indemnification provisions for advisors have been approved in other chapter 11 cases in this

 District. See, e.g., In re Mission Coal Co., LLC, Case No. 18-04177-TOM11 (Bankr. N.D. Ala.

 Nov. 30, 2018) [Doc. 364]; In re Walter Energy, Inc., Case No. 15-02741-TOM11 (Bankr. N.D.

 Ala. Oct. 1, 2015) [Doc. 819]; In re Belle Foods, LLC, Case No. 13-81963-JAC11 (Bankr. N.D.

 Ala. July 18, 2013) [Doc. 158].

           25.   The terms of the Engagement Agreement, including the Indemnification

 Provisions, were fully negotiated between the Debtors and M-III at arm’s length. The Debtors

 respectfully submit that the Indemnification Provisions, as modified by the Proposed Orders, are

 customary, reasonable and in the best interests of the Debtors, their estates and creditors.


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 Accordingly, as part of this Application, the Debtors request that this Court approve the

 Indemnification Provisions.

           G.    M-III’s Disinterestedness

           26.   As set forth in the Adams Declaration, M-III has represented to the Debtors that it

 is not engaged by and will not become engaged by any parties other than the Debtors in these

 Chapter 11 Cases. In addition, as set forth in the Adams Declaration, M-III has represented to the

 Debtors that it is not engaged by and will not become engaged by any parties in connection with

 any matter that would be adverse to the Debtors arising from, or related to, these Chapter 11 Cases.

           27.   To the best of the Debtors’ knowledge, information, and belief, and except to the

 extent disclosed herein and in the Adams Declaration and the exhibits thereto, the Debtors believe

 that: (i) M-III is a “disinterested person” within the meaning of section 101(14) of the Bankruptcy

 Code, as required by section 327(a) of the Bankruptcy Code, and does not hold or represent an

 interest adverse to the Debtors’ estates; and (ii) M-III has no connection to the Debtors, their

 creditors, the Bankruptcy Administrator, or any other party with an actual or potential interest in

 the Debtors’ cases or their attorneys or accountants, except as may be disclosed in the Adams

 Declaration. To the extent that any new relevant facts or relationships bearing on the matters

 described herein during the period of the Debtors’ retention are discovered or arise, M-III will use

 reasonable efforts to file promptly a supplemental declaration, as required by Bankruptcy Rule

 2014(a).

           28.   M-III’s current estimate is that it received unapplied advance payments from the

 Debtors in excess of prepetition billings of approximately $120,000.00, which is subject to final

 determination after all prepetition billings and collections are reconciled. As such, it is believed

 that the Debtors do not owe M-III any amounts for services rendered before the Petition Date.


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           H.    The Relief Requested Should be Granted

           29.   The Debtors seek authority to retain and employ M-III as their financial advisor

 under Bankruptcy Code section 327, which provides that a debtor is authorized to employ

 professional persons “that do not hold or represent an interest adverse to the estate, and that are

 disinterested persons, to represent or assist the [Debtors] in carrying out the [Debtors’] duties under

 this title.” 11 U.S.C. § 327(a). Section 1107(b) of the Bankruptcy Code elaborates upon sections

 101(14) and 327(a) of the Bankruptcy Code in cases under chapter 11 of the Bankruptcy Code and

 provides that “a person is not disqualified for employment under section 327 of [the Bankruptcy

 Code] by a debtor in possession solely because of such person’s employment by or representation

 of the debtor before the commencement of the case.” 11 U.S.C. § 1107(b).

           30.   The Debtors seek approval of the Fee Structure and the Engagement Agreement

 (including the Indemnification Provisions) pursuant to Bankruptcy Code section 328(a), which

 provides, in relevant part, that the Debtors “with the court’s approval, may employ or authorize

 the employment of a professional person under section 327 . . . on any reasonable terms and

 conditions of employment, including on a retainer, on an hourly basis, on a fixed or percentage fee

 basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Accordingly, Bankruptcy Code section

 328 permits the compensation of professionals, including consultants, on flexible terms that reflect

 the nature of their services and market conditions. Thus, section 328 is a significant departure

 from prior bankruptcy practice relating to the compensation of professionals. Indeed, as the United

 States Court of Appeals for the Fifth Circuit recognized in Donaldson Lufkin & Jenrette Sec. Corp.

 v. Nat’l Gypsum (In re Nat’l Gypsum Co.), 123 F.3d 861, 862 (5th Cir. 1997):

                 Prior to 1978 the most able professionals were often unwilling to
                 work for bankruptcy estates where their compensation would be
                 subject to the uncertainties of what a judge thought the work was
                 worth after it had been done. That uncertainty continues under the
                 present § 330 of the Bankruptcy Code, which provides that the court
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                 award to professional consultants “reasonable compensation” based
                 on relevant factors of time and comparable costs, etc. Under present
                 § 328 the professional may avoid that uncertainty by obtaining court
                 approval of compensation agreed to with the trustee (or debtor or
                 committee).

                 (internal citations omitted).

           31.   The Debtors believe that the Fee Structure in the Engagement Agreement sets forth

 reasonable terms and conditions of employment and should be approved under Bankruptcy Code

 section 328(a). The Fee Structure adequately reflects (i) the nature of the services to be provided

 by M-III and (ii) fee and expense structures and indemnification provisions typically used by M-

 III and other leading financial advisory and consulting firms. In addition, as noted above, M-III is

 “disinterested” and all of its fees and expenses are subject to approval of the Court in accordance

 with the Bankruptcy Code, the Bankruptcy Rules, and further orders of the Court.

           32.   The Debtors respectfully request that M-III’s retention be made effective as of the

 Petition Date so that M-III may be compensated for all services it has performed for the benefit of

 the Debtors’ bankruptcy estates. Indeed, M-III rendered these services to the Debtors in advance

 of approval of this Application in anticipation that its retention would be approved as of the Petition

 Date. Due in part to the many significant, pressing issues facing the Debtors in the early days of

 these Chapter 11 Cases, M-III has been focused on ensuring a smooth transition for the Debtors

 into chapter 11, and working with the Debtors’ other advisors and other parties in interest on

 numerous strategic negotiations. Compensating M-III for the necessary and critical services

 performed as of the Petition Date would not prejudice third parties as the services performed by

 M-III were needed in any event and any other professional would have had to be similarly

 compensated. The Debtors, their estates and creditors, received a material benefit from the

 services rendered by M-III after the Petition Date, and the Debtors believe it just and appropriate



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 to compensate M-III accordingly. The Debtors respectfully submit that the circumstances of these

 Chapter 11 Cases warrant retroactive approval of the Application as of the Petition Date.

           33.   For the foregoing reasons, the Debtors submit that the relief requested in the

 Application is in the best interests of the Debtors, their estates, and all other parties in interest in

 these Chapter 11 Cases and the Court should approve the retention and employment of M-III

 pursuant to the terms set forth in the Engagement Agreement.

                                               NOTICE

           34.   Notice of the hearing on the relief requested in this Application will be provided by

 the Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014 and is sufficient

 under the circumstances. The Debtors will provide notice of this Application to the following

 parties-in-interest: (i) the Bankruptcy Administrator; (ii) the Debtors’ consolidated list of creditors

 holding the forty largest unsecured claims; (iii) counsel to Whitebox Advisors LLC, as Priority

 Term Loan Lender; (iv) counsel to Cantor Fitzgerald Securities, as Priority Term Loan Agent

 under the Debtors’ prepetition Priority Term Loan Credit Agreement; (v) counsel to Ankura Trust

 Company, LLC, as FILO Agent under the Debtors’ prepetition FILO Term Loan Agreement, and

 as Exit Term Loan Agent under the Debtors’ prepetition Exit Term Loan Agreement; (vi) counsel

 to Franklin Advisors, Inc., as FILO Lender; (vii) the United States Internal Revenue Service; (viii)

 counsel to the United Mine Workers of America; and (ix) all parties entitled to notice pursuant to

 Bankruptcy Rule 2002. In light of the nature of the relief requested, the Debtors submit that no

 other or further notice is necessary under the circumstances.

                                           CONCLUSION

           WHEREFORE, the Debtors respectfully request entry of interim and final orders,

 substantially in the forms attached hereto as Exhibit B and Exhibit C, respectively, authorizing

 the employment and retention of M-III as financial advisor to the Debtors in these Chapter 11
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 Cases as requested in this Application, and granting such other and further relief as may be just

 and proper under the circumstances.

 Dated: July 28, 2020

                                          /s/ Derek F. Meek
                                          BURR & FORMAN LLP
                                          Derek F. Meek
                                          Hanna Lahr
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                                          Birmingham, AL 35203
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                                          - and -

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                                          Karen Rinehart (pro hac vice admission pending)
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                                                 krinehart@omm.com

                                          Proposed Attorneys for the Debtors and Debtors in
                                          Possession




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                                   Exhibit A

                               Adams Declaration




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                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION


     In re:                                                          Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                                Case No. 20-81688-11
     et al.,1
                                                                     Joint Administration Requested
                                    Debtors.


                       DECLARATION OF COLIN M. ADAMS
          IN SUPPORT OF DEBTORS’ APPLICATION FOR ENTRY OF INTERIM
     AND FINAL ORDERS AUTHORIZING THE RETENTION AND EMPLOYMENT OF
      M-III ADVISORY PARTNERS, LP AS FINANCIAL ADVISOR TO THE DEBTORS

              I, Colin M. Adams, make this declaration pursuant to 28 U.S.C. § 1746 and state as follows:

              1.     I am a Managing Director at M-III Advisory Partners, LP (together with its wholly-

 owned subsidiaries, “M-III”), an independent corporate turnaround and advisory firm providing

 operational, strategic and financial advice for our clients with headquarters are located at 130 West

 42nd Street, 17th Floor, New York, New York 10036.

              2.     I am duly authorized to make this declaration (this “Declaration”) on behalf of M-

 III and submit this Declaration in support of the Debtors’ Application for Entry of Interim and

 Final Orders Authorizing the Retention and Employment of M-III Advisory Partners, LP as

 Financial Advisor to the Debtors (the “Application”),2 filed concurrently with this Declaration,

 in which the Debtors seek entry of interim and final orders authorizing the employment of M-III


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Application.


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 as financial advisor to the Debtors pursuant to Bankruptcy Code section 327(a), Bankruptcy Rules

 2014(a) and 2016, and under the terms and conditions set forth in the Application.

           3.    Except as otherwise stated in this Declaration, I have personal knowledge of the

 facts set forth herein and, if called as a witness, I could and would testify thereto. Certain of the

 disclosures set forth herein are related to matters within the knowledge of other employees of M-

 III and are based on information provided by them.

                                    M-III’S QUALIFICATIONS

           4.    M-III has a wealth of experience in providing financial advisory services to

 distressed companies, including those in industries similar to the Debtors, in complex

 restructurings. M-III has an excellent reputation for services it has rendered in large and complex

 chapter 11 cases on behalf of debtors and creditors throughout the United States. M-III’s expertise

 includes significant experience assisting distressed companies with day-to-day management

 activities, including development of pro forma financials and business plans, cash flow

 management, and implementation of liquidity-enhancing and cost-saving strategies.

           5.    In addition, as a result of the significant prepetition work performed on behalf of

 the Debtors, M-III has acquired significant knowledge of the Debtors and their businesses and is

 intimately familiar with the Debtors’ financial affairs, systems, assets, capital structure, operations

 and related matters. During its prepetition engagement, M-III’s services have included a wide

 range of activities targeted at stabilizing and improving the Debtors’ financial position, including:

 (i) developing or validating forecasts, business plans, and related assessments of the business’s

 strategic position; (ii) monitoring and managing cash and cash flow; (iii) preparation and planning

 for chapter 11 filing and first-day relief; and (iv) designing and assessing financial restructuring

 alternatives.



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                                 SERVICES TO BE PROVIDED

           6.   During these Chapter 11 Cases, M-III will render restructuring advisory services as

 M-III and the Debtors deem appropriate and feasible, including, without limitation, the following:

                    Assist the Debtors in the development and administration of its short-term cash
                     flow forecasting, budgeting and related methodologies, as well as its cash
                     management planning;

                    Assist the Debtors in connection with preparation for and conduct of a
                     reorganization process, including, without limitation, (i) development of
                     restructuring plans and strategic alternatives intended to maximize the
                     enterprise value and (ii) development and presentation of any related forecasts
                     and monthly operating plans and results that may be required by creditor
                     constituencies in connection with negotiations or by the Debtors for other
                     corporate purposes;

                    Assist the Debtors in obtaining and presenting such information as may be
                     required by the parties in interest to these Chapter 11 Cases and the bankruptcy
                     process, including any creditors’ committees and the Court, with such
                     information to include, among other things, budgets and financial models
                     required in connection with any debtor-in-possession financing to be obtained
                     by the Debtors;

                    Assist the professionals who are representing the Debtors in the reorganization
                     process or who are working for the Debtors various stakeholders to coordinate
                     their efforts and individual work product in order to be consistent with the
                     Debtors’ overall restructuring goals;

                    Assist, if required, the Debtors in communications and negotiations with its
                     outside constituents, including creditors, trade vendors and their respective
                     advisors;

                    Provide such other services as are reasonable and customary for a financial
                     advisor in connection with the administration and prosecution of a bankruptcy
                     proceeding; and

                    Provide such additional services as M-III and the Debtors shall otherwise agree
                     in writing.

                              NO DUPLICATION OF SERVICES

           7.   M-III understands that the Debtors have retained and may retain additional

 professionals during the term of the engagement and agrees to work cooperatively with such


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 professionals to integrate any respective work conducted by the professionals on behalf of the

 Debtors. I believe that M-III is providing distinct and specific financial advising and consulting

 services as set forth in the Engagement Agreement, and such services are not expected to duplicate

 those to be provided by any other consultants or advisors.

                              PROFESSIONAL COMPENSATION

           8.   In consideration of the Services to be provided by M-III, subject to this Court’s

 approval, the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and any

 applicable orders of the Court, and pursuant to the terms and conditions of the Engagement

 Agreement, the Debtors have agreed to the following fee structure (the “Fee Structure”) to (i)

 compensate M-III for the services set forth in the Engagement Agreement on an hourly basis in

 accordance with M-III’s ordinary and customary rates in effect on the date such services are

 rendered and (ii) reimburse actual and necessary costs and expenses incurred by M-III in

 connection with all services performed on behalf of the Debtors.

           9.   Before the Petition Date, M-III received an initial retainer from the Debtors of

 $200,000.00 (the “Retainer”), which may be replenished from time to time. Pursuant to the

 Engagement Agreement, M-III applied the Retainer to prepetition fees and expenses. During the

 90 days prior to the commencement of these Chapter 11 Cases, the Debtors paid M-III a total of

 $1,185,244.25 for M-III’s services to the Debtors in contemplation of, and in connection with,

 prepetition restructuring activities. M-III’s current estimate is that it received unapplied advance

 payments from the Debtors in excess of prepetition billings of approximately $120,000.00, which

 is subject to final determination after all prepetition billings and collections are reconciled. The

 unapplied residual Retainer will not be segregated by M-III in a separate account and (except as

 expressly contemplated by the Engagement Agreement) will be held until the end of these Chapter

 11 Cases and applied to M-III’s finally approved fees in these proceedings.
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           10.   The current standard U.S. hourly rates3 (expressed in USD), subject to periodic

 adjustments, that M-III professionals will charge pursuant to the Engagement Agreement are as

 follows:

                                 Professional               Standard Rate
                            Managing Partner                    $1,150
                            Managing Director                $900 - $1,025
                            Director                          $725 - $825
                            Vice President                       $650
                            Senior Associate                     $550
                            Associate                            $475
                            Analyst                              $375

           11.   The hourly rates set forth above are M-III’s applicable hourly rates for its

 professionals and staff members for the engagement set forth in the Engagement Agreement.

 These hourly rates reflect M-III’s normal and customary billing practices for engagements of this

 complexity and magnitude. M-III revises its hourly rates periodically and M-III will provide notice

 of any rate increases to the Debtors, the Bankruptcy Administrator, and any official committee of

 unsecured creditors appointed in these Chapter 11 Cases.

           12.   In addition, M-III will invoice the Debtors for its reasonable and direct out-of-

 pocket expenses charged during these Chapter 11 Cases, which include, among other things,

 internet access, conference calls, overnight mail, messenger, travel, meals, accommodations and

 other expenses, specifically related to its engagement by the Debtors.

           13.   I believe that the fees are reasonable and comparable to those generally charged by

 financial advisors and consultants of similar stature to M-III for comparable engagements, both in

 and out of chapter 11. The Fee Structure summarized above and described more fully in the

 Engagement Agreement is consistent with M-III’s normal and customary billing practices for


 3
    Rates included in the Application are current M-III hourly rates and have been approved by the Debtors in
 accordance with the Engagement Agreement.

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 comparably-sized and complex cases and transactions, both in and out of court, involving the

 services to be provided in connection with chapter 11 cases. Moreover, the fees are consistent

 with and typical of arrangements entered into by M-III and other financial advisory and consulting

 firms with the rendering of comparable services to clients such as the Debtors. I believe that the

 fees are both reasonable and market-based.

                               INDEMNIFICATION PROVISIONS

           14.   As part of the overall compensation payable to M-III under the terms of the

 Engagement Agreement, the Debtors have agreed to certain indemnification and contribution

 provisions described in the Engagement Agreement (the “Indemnification Provisions”). As more

 fully set forth in the Engagement Agreement, the Indemnification Provisions provide that the

 Debtors agreed to indemnify and hold harmless M-III and its affiliates, equity holders, partners,

 directors, employees, agents, representatives and contractors to the extent described in Annex I to

 the Engagement Agreement against all costs, fees, expenses, damages, and liabilities (including

 defense costs) associated with any pending or threatened third party claim, action or proceeding

 relating to or arising as a result of the Engagement or the provision of the Services, except to the

 extent such losses are determined to be the result of M-III’s bad faith, gross negligence, or willful

 misconduct.

           15.   The terms of the Engagement Agreement, including the Indemnification

 Provisions, were fully negotiated between the Debtors and M-III at arm’s length. I believe that

 the Indemnification Provisions, as modified by the Proposed Orders, are customary, reasonable

 and in the best interests of the Debtors, their estates and creditors.

                                  M-III’S DISINTERESTEDNESS

           16.   In connection with the preparation of this Declaration, M-III requested and obtained

 from the Debtors’ proposed counsel a list of interested parties and significant creditors in these

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 Chapter 11 Cases (collectively, the “Potential Parties in Interest”). The list of Potential Parties

 in Interest is reflected on Schedule 1 attached hereto.

           17.   Senior professionals of M-III then reviewed the names of each of the Potential

 Parties in Interest and M-III compared the names on the list with its records concerning current

 and former clients and key parties in interest with respect to those current and former clients.

 Known connections between former or recent clients of M-III and the Potential Parties in Interest

 were compiled for purposes of preparing this Declaration. These connections are listed on

 Schedule 2 attached hereto.

           18.   To the best of my knowledge, information, and belief, and based on the foregoing

 inquiry, other than in connection with this engagement and as otherwise disclosed in this

 Declaration or as set forth in Schedule 2, M-III has no relationships or connections with the

 Debtors or their affiliates. In addition, to the best of my knowledge, information, and belief,

 neither I nor any other professional of M-III who is working on this engagement:

                 a. is a creditor, equity security holder, or insider of the Debtors;

                 b. is or has been within two years before the Petition Date, a director, officer, or
                    employee of the Debtors; or

                 c. has any interest materially adverse to the interests of the Debtors’ estates, by
                    reason of any direct or indirect relationship to, connection with, or interest in,
                    the Debtors, or for any other reason.

           19.   M-III provides services to many clients with interests in the Debtors’ Chapter 11

 Cases. To the best of my knowledge, except as indicated below, M-III’s services for such clients

 do not relate to these Chapter 11 Cases.

           20.   Further, as part of its diverse practice, M-III appears in numerous cases and

 proceedings, and participates in transactions that involve many different professionals, including

 attorneys, accountants, and financial consultants, who represent claimants and parties-in-interest


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 in these Chapter 11 Cases. M-III has been represented by several attorneys and law firms, some

 of which may be involved in these proceedings.          Based on my current knowledge of the

 professionals involved, and to the best of my knowledge, none of these relationships create

 interests materially adverse to the Debtors in matters upon which M-III is to be employed, and

 none are in connection with these cases.

           21.   If any new material relevant facts or relationships are discovered or arise, M-III

 will promptly file a supplemental declaration.

           22.   M-III’s current estimate is that it received unapplied advance payments from the

 Debtors in excess of prepetition billings of approximately $120,000.00, which is subject to final

 determination after all prepetition billings and collections are reconciled. As such, it is believed

 that the Debtors do not owe M-III any amounts for services rendered before the Petition Date.

           23.   To the best of my knowledge, (a) no commitments have been made or received by

 M-III with respect to compensation or payment in connection with these Chapter 11 Cases other

 than in accordance with the provisions of the Bankruptcy Code, and (b) M-III has no agreement

 with any other entity to share with such entity any compensation received by M-III in connection

 with these Chapter 11 Cases.

           24.   I have read the Application that accompanies this Declaration and, to the best of

 my knowledge, information and belief, the contents of such Application are true and correct.



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           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my information, knowledge and belief.

 Executed on July 27, 2020
                                                         /s/ Colin M. Adams
                                                        Colin M. Adams
                                                        Managing Director
                                                        M-III Advisory Partners, LP
                                                        130 W 42nd Street, 17th Floor
                                                        New York, New York 10036




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                                     Schedule 1

                         List of Potential Parties in Interest




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                                    LIST OF PARTIES SEARCHED1

                                                          DEBTORS
 Remington Outdoor Company, Inc.
 FGI Holding Company, LLC
 FGI Operating Company, LLC
 Barnes Bullets, LLC
 Remington Arms Company, LLC
 Huntsville Holdings LLC
 TMRI, Inc.
 Remington Arms Distribution Company, LLC
 32E Productions, LLC
 Great Outdoors Holdco, LLC
 RA Brands, L.L.C.
 FGI Finance Inc.
 Outdoor Services, LLC


                                        NON-DEBTOR CORPORATE ENTITIES
 Remington Outdoor (UK) Ltd.
 Remington Licensing Corporation
 Remington Charitable Fund


                                              CREDIT FACILITY LENDERS
 Priority Term Loan Lenders
 Cantor Fitzgerald Securities
 Whitebox GT Fund, LP
 Whitebox Multi-Strategy Partners, LP
 Whitebox Credit Partners, LP
 Whitebox Asymmetric Partners, LP
 Pandora Select Partners, LP


 1Inclusion in a category for search purposes is solely to illustrate the conflicts search process and is not an admission that
 any party has a valid claim against the Debtors or that any party properly belongs in the Debtors’ schedules or has a claim
 or legal relationship to the Debtors of the nature described in the schedules.

                                                               1


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 Whitebox Caja Blanca Fund, LP


 FILO Lenders2
 Ankura Trust Company, LLC
 Funds and accounts managed by Franklin Advisers, Inc.


 Exit Term Loan Lenders
 Ankura Trust Company, LLC
 Funds and accounts managed by Franklin Advisers, Inc.
 JPMorgan Chase Bank, N.A.; funds and accounts managed by JPMorgan Chase Bank, N.A.
 J.P. Morgan Investment Management Inc.; funds and accounts managed by J.P. Morgan Investment
 Management Inc.
 Lord Abbett; funds and accounts managed by Lord Abbett
 Renaissance Investment Holdings Ltd.
 Teachers Retirement Systems of Oklahoma




 2Where available, the names of the individual funds and accounts managed by investment advisors that are holders of the
 FILO Term Loan, the Exit Term Loan, and equity securities have been provided to the Office of the Bankruptcy
 Administrator.

                                                           2


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                  STOCKHOLDERS: KNOWN CURRENT / RECENT STOCKHOLDERS
 Funds and accounts managed by Franklin Advisers, Inc.
 Funds and accounts managed by J.P. Morgan Investment Management Inc.
 Funds and accounts managed by JPMorgan Chase Bank, N.A
 Funds and accounts managed by Lord Abbett
 First Southern Securities, LLC
 Logen Asset Management, L.P.
 Whitebox Multi-Strategy Partners, LP
 Whitebox Asymmetric Partners, LP
 Renaissance Investment Holdings, Ltd.
 Newmark Capital Funding 2013-1CLO
 ACIS CLO 2013-1, Ltd.
 Artisan Credit Opportunities Master Fund LP
 DG Value Partners, LP
 DG Value Partners II Master Fund, LP
 Cantor Fitzgerald & Co.
 Antora Peak Capital Management LP
 Antora Peak Credit Opportunities Fund, LP
 Schultze Master Fund, Ltd.
 Hillmark Funding, Ltd.
 ACIS CLO 2014-3 Ltd.
 ACIS CLO 2014-4 Ltd.
 ACIS CLO 2014-5 Ltd.
 ACIS CLO 2014-6 Ltd.
 BTIG, LLC
 LCM XIII Limited Partnership
 LCM XIV Limited Partnership
 LCM XV Limited Partnership
 LCM XVI Limited Partnership
 LCM XVII Limited Partnership
 LCM XVIII Limited Partnership
 LCM XIX Limited Partnership


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 LCM XX Limited Partnership
 LCM XXI Limited Partnership
 LCM XXII LTD.
 LCM XXIII LTD.
 LCM XXIV LTD.
 LCM XXV LTD.


                               OFFICERS AND DIRECTORS
 Melissa Anderson
 Mark Boyadjian
 Jeff Brown
 Emile Buzaid
 Joanne Chomiak
 Melissa Cofield
 Ken D’Arcy
 Gene Davis
 Billy Hogue
 Rick Kilts
 William Krogseng
 Mark Little
 Matt McCarrol
 Chuck Rink
 Charles Thurman
 Matt Trask
 John Trull
 Brian Wheatley
 Ehsan Zargar




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                                      BANK ACCOUNTS
 Adirondack Bank
 Cadence Bank
 First State Bank
 Wells Fargo Bank


                               COMPANY-HELD EQUITY INTERESTS
 Walmart Inc.


                                     UCC SEARCH NAMES
 Remington Outdoor Company, Inc.
 FGI Holding Company, LLC
 FGI Operating Company, LLC
 Barnes Bullets, LLC
 Remington Arms Company, LLC
 Huntsville Holdings LLC
 TMRI, Inc.
 Remington Arms Distribution Company, LLC
 32E Productions, LLC
 Great Outdoors Holdco, LLC
 RA Brands, L.L.C.
 FGI Finance Inc.
 Outdoor Services, LLC
 Remington Outdoor (UK) Ltd.
 Remington Licensing Corporation
 Remington Charitable Fund


                                   DEBTORS’ PROFESSIONALS
 O’Melveny & Myers LLP
 M-III Advisory Partners, LP
 Akin Gump
 Womble Bond Dickson


                                            5


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 Shook, Hardy, and Bacon
 Swanson, Martin, and Bell


                          EQUITY OWNERS, POTENTIALLY 5% OR GREATER
 Schultze Master Fund, Ltd.
 Funds and accounts managed by Franklin Advisers, Inc.
 Funds and accounts managed by J.P. Morgan Investment Management Inc. and/or funds and
 accounts managed by JPMorgan Chase Bank, N.A.

                                40 LARGEST UNSECURED CREDITORS
 Pension Benefit Guaranty Corporation
 State of Arkansas, Business Development, Arkansas Economic Development Commission
 City of Huntsville, Alabama
 State of Alabama
 State of Missouri
 St. Marks Powder
 Eco-Bat Indiana LLC
 Art Guild Inc.
 Dasan USA Inc.
 Alliant TechSystems Operations LLC
 QIQIHAR Hawk Industries Co. Ltd.
 MSC Industrial Supply Co.
 Swanson Martin & Bell
 SAP America Inc.
 Helio Precision Inc.
 The Doe Run Company
 DIE-NAMIC Inc.
 Alltrista Plastics LLC
 A M Castle & Co. / Castle Metals
 Decimet Sales Inc.
 Kennametal Inc.
 Brothers & Co.
 Vista Outdoor Sales LLC
 Amark Engineering & Mfg Inc.

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 Geodis Logistics LLC
 Chessgroup
 Continental Traffic Service Inc.
 Dayton Lamina Corp.
 Safari Classics Production
 General Dynamics
 G & R Manufacturing
 National Rifle Association
 Oberg Industries
 Westrock Converting
 Bushnell Inc.
 Electro-Tech Inc.
 Nordic Components Inc.
 Producto Corporation
 Luvata Appleton LLC
 Village of Ilion Treasurer, Utica, NY

 32E Productions, LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC

 Barnes Bullets, LLC
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities

 FGI Finance Inc.
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitgerald Securities




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 FGI Holding Company, LLC
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities


 FGI Operating Company, LLC
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities

 Great Outdoors Holdco, LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC

 Huntsville Holdings Company, LLC
 Ameritas Life Insurance Corporation

 Huntsville Holdings LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC

 Outdoor Services, L.L.C.
 Caterpillar Financial Services Corporation

 Outdoor Services LLC
 Internal Revenue Service

 Outdoor Services, LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC




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 RA Brands, L.L.C.
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities


 Remington Arms Company, LLC
 Air Liquide Industrial U.S. LP
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 NMHG Financial Services, Inc.
 HYG Financial Services, Inc.
 J.R. Automation Technologies, LLC
 Cantor Fitzgerald Securities


 Remington Arms Company, Inc. and Herkimer County Sheriff
 Richard Keith Caister and d/b/a RKC Products
 The Edmunds Manufacturing Company and d/b/a Edmunds Gages


 Remington Arms Company, Inc.
 Regions Commercial Equipment Finance, LLC


 Remington Arms Distribution Company, LLC
 Wilmington Trust, National Association
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Cantor Fitzgerald Securities
 Remington Charitable Fund
 [No Results]


 Remington Licensing Corporation
 [No Results]

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 Remington Outdoor (UK) Ltd.
 [No Results]


 Remington Outdoor Company, Inc.
 Wilmington Trust, National Association
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Cantor Fitzgerald Securities


 Remington Outdoors Company, Inc.
 Ellison Technologies


 TMRI, Inc.
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities


                                      LETTERS OF CREDIT
 Geodis Logistics LLC


                             FREIGHT BROKERS AND COMMON CARRIERS
 CTSI
 Continential Traffic Service, Inc.


                                          INSURANCE
 Sompo
 Berkshire Hathaway
 Greewich Insurance Company
 XL Insurance America, Inc.
 National Fire & Marine Insurance
 Ironshore

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 Hiscox/StarStone/ACT
 AIG
 Starr Aviation
 Indemnity Insurance Company of North America
 Chubb
 Endurance
 Markel
 Axis
 Navigators
 Beazley
 Berkley Pro
 US Specialty
 WorldSource
 XL
 Berkley Asset Protection
 Illinois Union Insurance Co. (Chubb)
 James River Insurance Company
 North American Capacity Insurance Company
 Westchester Surplus Lines Insurance Company
 ACE Property & Casualty Insurance Company


                                            LANDLORDS
 PanCal Southhaven One 127, LLC
 First Stamford Place SPE L.L.C. and Merrifield First Stamford SPE L.L.C.
 Stout Industral Properties, LLC
 PAM Industrial Properties, LLC
 Norma J. Allen
 Sturgis Economic Development Corporation
 BCR Enterprises, Ltd.
 Glassell Family LLC
 FW Properties, L.L.C.
 Eagle Bulk Shipping International (USA) LLC (Subtenant)



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                                 LITIGATION (PENDING / POTENTIAL)
 United Mine Workers of America, Local Union 717
 U.S. Environmental Protection Agency
 Chemetco, Inc. Superfund Site
 Layne Kay and Emily Kay v. Barnes Bullets (Utah Supreme Court, Appellate Case No. 2018-0821-SC)
 Lori Evans (USDC, E.D. Ark., Case No. 4:19-cv-801)
 Sharron Evars (USDC, N.D. Ala., Case No. 5:20-cv-0705)
 John Coburn (EEOC Case No. 493-2020-00206)
 Alison Manning (EEOC Case No. 420-2020-01534)
 Mollie Todd (Smalls Claims Court, District Court of Madison County, Ala., Case No. 47-SM-2019-
 000969.00)
 Worker’s Comp Litigant: Floyd Brothers (Case No. G807557)
 Workers Comp Litigant: Avery Gardner (Case No. F701796)
 Workers Comp Litigant: Johnathan Oliver (Case No. G602108)
 Workers Comp Litigant: Anthony Webster (Case No. G70625)
 Workers Comp Litigant: Chris Strong (Case No. G703571)
 Workers Comp Litigant: Richard Zona (Case No. 985039)
 Workers Comp Litigant: Ruth Suarez (Case No. 300084274)
 Workers Comp Litigant: Corey Castleman (Case No. 201356687)
 Workers Comp Litigant: Nicholas Croan (Case No. 16-014763)
 Workers Comp Litigant: Monica Czarrunchick (Case No. G0743503)
 Workers Comp Litigant: Jason Lape (Case No. G1328832)
 Workers Comp Litigant: Colleen Smith (Case No. G0634470)
 Workers Comp Litigant: Colleen Stanburg (Case No. 60309132)
 Workers Comp Litigant: Susan Barger (Case No. 60703435)
 Workers Comp Litigant: Stephen Brown (Case No. 60500499)
 Workers Comp Litigant: Adam Boepple (Case No. G1851684)
 Workers Comp Litigant: Kim Faubert (Case No. GL450563)
 Workers Comp Litigant: Kevin Trevor (Case No. G1067691)
 Workers Comp Litigant: Matthew Davis (Case No. 60805819)
 Workers Comp Litigant: Lois Sill (Case No. G0490071)
 Workers Comp Litigant: Kerry Atwood (Case No. 60703961)
 Workers Comp Litigant: Scott Miller (Case No. 60607085)

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 Workers Comp Litigant: Raymond Wiegand (Case No. 60506411)
 Workers Comp Litigant: Todd Zielinski (Case No. G2063301)
 Workers Comp Litigant: Eugene Smith (Case No. 60608514)
 Workers Comp Litigant: Larry Hallenbeck (Case No. G2210819)
 Workers Comp Litigant: John McKusick (Case No. G1975913)
 Workers Comp Litigant: Jessica Boepple (Case No. G1583518)
 Workers Comp Litigant: Basilio Santiago (Case No. G1581701)
 Workers Comp Litigant: Douglas Pedrick (Case No. G2211672)
 Workers Comp Litigant: Eric True (Case No. G1702070)
 Workers Comp Litigant: Cynthia Uhlig (Case No. G1975103)
 Workers Comp Litigant: Wade Haponski (Case No. G2212070)
 JoAnn Harris (USDC, W.D. Okla., Case No. 5:15-cv-1375) / USCA, 8th Circuit
 Ryan Carr (USDC, W.D. Okla., Case No. 5:16-cv-1153)
 Cody Shearouse (USDC, S.D. Ga., Case No. 4:17-cv-0107)
 Vincent Tate (Circuit Court for the County of Henrico, Va., Case No. 087CL17004633-00)
 Roger Stringer, (USDC, S.D. Miss., Case No. 2:18-cv-0059) USCA, 5th Circuit
 Kimberly Hyder, (USDC, S.D. Miss., Case No. 2:18-cv-0059) USCA, 5th Circuit
 Zachary Stringer, (USDC, S.D. Miss., Case No. 2:18-cv-0059) USCA, 5th Circuit
 Sharon Teague and Randall Teague (Estate of Mark Randall Teague) (USDC, D. Mont., Case No.
 9:18-cv-0184)
 Brett Nielsen (USDC, D. Utah, Case No. 2:20-cv-0011)
 Richard Clay (Estate of) (Circuit Court of St. Clair County, Ala., Case No. CV2018-900221)
 Alyssa Scott (Estate of) (USDC, N.D. Ala., Case No. 19-cv-1891)
 Steven Wharton (San Diego County Superior Court, State of California, Case No. 37-2019-
 000121144-CU-PL-CTL)
 Miguel Angeles (Santa Barbara County Superior Court, State of California, Case No. 18-cv-4922)
 Travis Walton (Los Angeles County Superior Court, State of California, Case No. BC723793)
 Precious Sequin (USDC, E.D. La., Case No. 2:14-cv-2442) USCA, 5th Circuit
 Primus Group, LLC (USDC, S.D. Ohio, Case No. 2:19-cv-3450) USCA, 6th Circuit
 Donna L. Soto (Estate of Victoria L. Soto) v. Bushmaster Firearms International, LLC, et al. (Superior
 Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-6048103-S, Case
 Transferred to UWY-CV15-6050025-S)
 Ian Hockley and Nicole Hockley (Estate of Dylan C. Hockley) v. Bushmaster Firearms International,
 LLC, et al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-
 CV15-6048103-S, Case Transferred to UWY-CV15-6050025-S)

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 William D. Sherlach (Estate of Mary Joy Sherlach) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Leonard Pozner (Estate of Noah S. Pozner) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Gilles J. Rousseau (Estate of Lauren G. Rousseau) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 David C. Wheeler (Estate of Benjamin A. Wheeler) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Neil Heslin and Scarlett Lewis (Estate of Jesse McCord Lewis) v. Bushmaster Firearms International,
 LLC, et al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-
 CV15-6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Mark Barden and Jacqueline Barden (Estate of Daniel G. Barden) v. Bushmaster Firearms
 International, LLC, et al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case
 No. FBT-CV15-6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Mary D’Avino (Estate of Rachel M. D’Avino) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Natalie Hammond v. Bushmaster Firearms International, LLC, et al. (Superior Court for the Judicial
 District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-6048103-S, Case Transferred to UWY-
 CV15-6050025-S)
 Pollard v. Remington (USCA, 8th Circuit)


                                           TAXING AUTHORITIES
 Ohio Treasurer of State, Columbus, Ohio
 Delaware Division of Corporations, Dover, Delaware
 Alabama Department of Revenue, Montgomery, Alabama
 Franchise Tax Board, Sacramento, California
 Tennessee Department of Revenue, Nashville, Tennessee
 North Carolina Department of Revenue - W/H
 Clark County Treasurer, Jeffersonville, Indiana
 La Porte County Treasurer, Michigan City, Indiana
 North Carolina Secretary of State, Raleigh, North Carolina
 James W. Wilburn III, Treasurer, Lenoir City, Tennessee
 Loudon County Trustee, Loudon, Tennessee

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 North Carolina Division of Motor Vehicles, Raleigh, North Carolina
 Randolph County Treasurer, Chester, Illinois
 Receiver of Taxes, Mohawk, NY
 Village of Ilion Treasurer, Ilion, NY
 Desoto County, Tax Collector, Hernando, Mississippi
 Treasurer of Hancock County, Findlay, Ohio
 Lonoke County Collector, Lonoke, Arkansas
 Marion County Collector, Yellville, Arkansas
 Benton County Collector, Bentonville, Arkansas
 Office of the Fayette County Sheriff, Lexington, Kentucky
 Crittenden County Sheriff, Marion, Kentucky
 Douglas County Tax Commissioner, Douglasville, Georgia
 Pinellas County Tax Collector, Seminole, Florida
 Juab County Assessor, Nephi, Utah
 Lafayette County Collector, Lexington, Missouri
 Madison County Tax Collector, Huntsville, Alabama
 Butler County Sheriff, Morgantown, Kentucky
 Collector of Revenue, Springfield, Missouri
 Rockingham County Tax Department, Charlotte, North Carolina
 Wake County Department of Revenue, Raleigh, North Carolina
 Alabama Department of Revenue, Birmingham, Alabana
 City of Huntsville, Huntsville, Alabama
 Arizona Department of Revenue, Phoenix, Arizona
 State of Arkansas, Little Rock, Arkansas
 State of California, Sacramento, California
 Colorado Department of Revenue, Denver, Colorado
 State of Connecticut, Hartford, Connecticut
 Florida Department of Revenue, Tallahassee, Florida
 Georgia Sales and Use Tax Division, Atlanta, Georgia
 State of Hawaii, Honolulu, Hawaii
 Idaho State Tax Commission, Boise, Idaho
 Illinois Department of Revenue, Springfield, Illinois
 Indiana Department of Revenue, Indianapolis, Indiana

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 State of Iowa Treasurer, Des Moines, Iowa
 Kansas Department of Revenue, Topeka, Kansas
 Kentucky State Treasurer, Frankfort, Kentucky
 Louisiana Department of RevenueBaton Ruoge, Louisiana
 Maine Bureau of Taxation, Augusta, Maine
 Maryland Comptroller of the Treasury, Baltimore, Maryland
 Massachusetts Department of Revenue, Boston, Massachusetts
 State of Michigan, Lansing, Michigan
 Minnesota Department of Revenue, St. Paul, Minnesota
 Mississippi Tax Commission, Jackson, Mississippi
 Missouri Department of Revenue, Jefferson City, Missouri
 Nebraska Department of Revenue, Lincoln, Nebraska
 Nevada Department of Taxation, Las Vegas, Nevada
 State of New Jersey, Trenton, New Jersey
 New Mexico Taxation and Revenue Department, Santa Fe, New Mexico
 New York State Sales Tax, Albany, NY
 North Carolina Department of Revenue, Raleigh, North Carolina
 State of North Dakota, Bismarck, North Dakota
 Treasurer of State, Columbus, Ohio
 Oklahoma Tax Commission, Oklahoma City, Oklahoma
 Pennsylvania Department of Revenue, Harrisburg, Pennsylvania
 State of Rhode Island, Providence, Rhode Island
 South Carolina Department of Revenue, Columbia, South Carolina
 South Dakota Department of Revenue, Sioux Falls, South Dakota
 Texas State Treasurer, Austin, Texas
 Utah State Tax Commission, Salt lake City, Utah
 Vermont Department of Taxes, Montpelier, Vermont
 Virginia Department of Taxation, Richmond, Virginia
 State of Washington Department of Revenue, Seattle, Washington
 Department of Tax & Revenue, Charleston, West Virginia
 Wisconsin Department of Revenue, Milwaukee, Wisconsin
 Wyoming Department of Revenue, Cheyenne, Wyoming
 District of Columbia Government, Washington, DC

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 Alcohol Tobacco Tax & Trade Bureau. Cincinnati, Ohio


                                          PROMISSORY NOTES
   Industrial Row Realty LLC (as successor-in-interest to H&R 1871, LLC)
   L R Nash (SMK) Ltd.
   Remington Arms Company, LLC
                                      OTHER EQUITY INTERESTS
  Remington Licensing Corporation
  Sporting Activities Insurance Limited
  Wal-Mart Stores, Inc.




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                                            UTILITY PROVIDERS
 AAA Disposal Services Inc. (Disposal)
 ADCO Companies Ltd. (Boiler Room / Steam)
 Airgas USA LLC (Gas)
 AT&T (Phone at all Remington Locations)
 Centracom (Telephone)
 CenturyLink (Telephone)
 CenturyLink Communications LLC (Telephone)
 City of Huntsville Utilities (Huntsville, Alabama) (Electricity)
 City of Lexington, Missouri (Water / Sewer)
 Constellation NewEnergy - Gas Division
 Cox Communications (Internet Services)
 Duke Energy (Electricity)
 Empire District (Electricity)
 Evergy Inc. (Energy)
 First Electric Cooperative Corp. (Electricity)
 Frontier Communications (Internet / Telephone)
 Herkimer County Sewer District (Mohawk, NY) (Sewer)
 Ilion Water Department (Ilion, NY) (Water)
 Intercall (Atlanta, GA) (Telephone)
 Jay Mecham’s Country Garbage (Mona, Utah) (Landfill Usage)
 Madison Electric Inc. (Madison, Alabama) (Electricity)
 Mail Finance Inc. (Dallas, Texas) (Electricity)
 Mona City (Mona, Utah) (Water / Sewer)
 National Grid (Gas)
 Piedmont Natural Gas Company (Dallas, Texas) (Gas)
 Rocky Mountain Power (Electricity)
 Spectrum (Cable TV and Internet)
 Sprague Operating Resources LLC (Electricity / Gas)
 Town of Mayodan (Mayodan, NC) (Water / Sewer)
 Verizon (Telephone)
 Village of Ilion, Light Department (Ilion, NY) (Electricity)


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 Waste Management (Carol Stream, Illinois) (Waste Management)
 Waste Management of Alabama North (Huntsville, Alabama) (Waste Management)
 Waste Management of New York - Utica (Waste Management)
 Windstream Corporation (Louisville, Kentucky) (Data Networking / Communications)


                             ALABAMA BANKRUPTCY JUDGES (N.D. ALA.)
 James J. Robinson
 Tamara O. Mitchell
 Jennifer H. Henderson
 Clifton R. Jessup, Jr.
 D. Sims Crawford


                   BANKRUPTCY ADMINISTRATOR / TRIAL ATTORNEYS (N.D. ALA.)
 Thomas Corbett (Bankruptcy Administrator)
 Richard Blythe (Assistant Bankruptcy Administrator)
 Jon Dudeck (Deputy in Charge)
 Tazewell Shepard (U.S. Trustee’s Office, Northern Division)
 Judith Thompson (U.S. Trustee’s Office, Northern Division)
 Michele T. Hatcher (U.S. Trustee’s Office, Northern Division)


                                     EXECUTORY CONTRACTS
                          (FROM SPREADSHEET DATED 4/27/20 FROM CLIENT)
 Windstream
 Microsoft EA & SCE
 Rimini Street
 Paymetric
 BAH (formerly Morphick)
 Panaya
 DPSI
 ERP Maestro
 DarkTrace
 NetBrain
 SAP / SuccessFactors

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 SAP C4C
 SEI
 AT&T
 CISCO SmartNet (via CDW)
 Segra (formerly Data Chambers / Northstate)
 Sunview Software
 Illinois Department of Natural Resources
 National Skeet Shooting Association
 Widen Enterprise Inc.
 MODX System
 NRA Publications
 Oracle / Bronto
 Magento / Adobe
 Union Sportsmen’s Alliance
 National Wild Turkey Federation
 Boone & Crockett Club
 Rocky Mountain Elk Foundation
 Western Hunting & Conservation Expo
 Full Curl Society
 Sportsman for Fish & Wildlife
 Ducks Unlimited
 Outdoor Sportsmans Group
 Heartland Waterfowl
 Whitetails Unlimited
 Phesants Forever
 Delta Waterfowl
 Independent Hunting LLC
 Zmags Corp
 Ruffed Grouse Society
 Safari Classic Productions
 Sportscar Vintage Racing Association
 National Machinery
 Siemens

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 Video Jet
 Westrock
 Sprague
 Toshiba
 SAP Success Factors
 RSR (Quemetco EcoBat) Lead
 Doe Run Lead
 Gopher Resources - Lead
 Cintas
 G4S
 Diversified Maintenance-RWS, LLC
 Niagara LaSalle
 Precision Kidd
 Eaton Steel


                           ADDITIONAL EXECUTORY CONTRACTS
                       (FROM SPREADSHEETS DATED 5/7/20 AND 5/11/20)
 SOURCING - Direct (Raw Materials)
 RSR (Quemetco (EcoBat))
 Doe Run
 Gopher Resources
 Sanders
 Aurubis
 General Dynamics-OTS
 LyondelBassel

 SOURCING - Direct (Not Raw Materials)
 National Machinery
 Westrock
 Manth Brownell

 SOURCING - Indirect
 Sprague Operating Resources
 G4S
 Siemens (Fire Alarm (Lonoked))
 Diversified Maintenance
 Pitney Bowes
 Stanley Security
 Les Olson (Barnes CyberSecurity)

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 Aagard Group
 Airgas
 Alabama Equipment
 American Food & Vending
 American Safety & Health Institute (HSI)
 Applied Combustion and Equipment
 Arkansas Copier Center
 Carlson Wagonlit Travel
 Cintas
 CoreTrust
 Diversified Maintenance
 Mail Finance / Ed & Ed Business Technology
 Instream Environmental
 Les Olson (MONA Barnes CyberSecurity)
 LiftOne
 Meridian IT
 MSC Industrial Supply
 National Machinery
 Nationwide Power
 Otis Elevator Company
 Pitney Bowes
 Schnitzer Southeast
 Security Equipment Inc.
 Shred-It
 Siemens
 SiteHawk
 Southern Sweepers
 Sprague Operating Resources
 Stanley Security
 Trane Building Services
 Vanguard Cleaning Systems
 Videojet
 Waste Management
 Wiese USA
 Stryker Tech LLC

 SALES - Retail Customers (Domestic)
 Mills Fleet Farm
 Academy Sports & Outdoors
 Bass Pro - Cabela’s
 Bi-Mart
 Dunham’s Sporting Goods


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 Mattoon Rural King
 Midway Arms
 Pacific Flyway
 Scheel’s Consolidated
 Big 5 Corporation


 SALES - Wholesale Distributors (Domestic)
 All State Police Equipment
 Bailey’s Firearms Country
 Bailey’s House of Guns
 Barney’s
 Craig’s Firearms
 Davidson’s
 Ed’s Public Safety
 Firing Line
 H&H Gunrange
 Kiesler
 Lawmen Supply Company
 Lawmens’ & Shooters
 Lawmen’s Distribution
 LC Action
 Lou’s Police Distributors
 Michigan Police Equipment
 Proforce
 Smyrna
 Surplus Arms & Ammo
 Targetmaster
 The Attic
 Town Police Supply
 Witmer Associates
 Galls
 Bangers LP
 Big Rock Sports, LLC

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 Bill Hicks & Co., Ltd.
 Camfour, Inc.
 Davidson’s, Inc.
 Grice Wholesale
 Hicks Inc.
 Lew Horton Distributing Co., Inc.
 RSR Group
 Sports South, LLC
 VF Grace, Inc.
 Williams Shooters Supply Inc.
 Zanders Sporting Goods


 SALES - Sales Reps (Domestic)
 Maschmedt & Associates
 Murski Breeding Sales, Inc.
 ProActive Sales & Marketing


 SALES - Wholesale Distributors (Foreign)
 A&A Dealers
 AS Oliva
 Abaco Hardware
 Aekaphatt Firearms Ltd.
 Al Hadaf
 Arcocity
 Armaq
 Artemis
 Artemix
 Astroclassic
 B&B Target
 Bell
 Bignami
 Borchers
 Bowmac

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 BRS
 Cabela’s
 Cairo
 Casa El Cazador
 CB Servis Centrum
 Central Dealers
 Chasse Et Loisirs
 Civil Arms
 Comercial Palmera
 Delta Firearms
 Diamantopoulos
 Discovery
 Dolphin Gun Company
 Dossul
 Edelweiss
 Ellwood Epps
 Europa
 Fancesa
 Faulkners
 Firearms Training Institute
 Formalito
 Full Metal
 GDV
 GP Interarms
 General Dynamics
 Glaser
 Glenn’s Ammo
 Gowen
 Gravel
 Grunig
 Helmut Hoffman - Germany
 Helmut Hoffman - Austria
 Hokuto Trading

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 Horst Trigatti
 Hubertech
 Importadora Daher
 Izhevsky
 Jaguar Gruppen
 Jakt & Friluft
 Juan Ruiz de Velazco (Vega Seis)
 Krometal
 Kulim Arms
 Lawry Shooting Sports
 LDS Long Distance Services
 Le Baron
 Leonowens
 Magne Landro
 Magnum
 Mario Ludwig
 Meguro Gun Shop
 Midarms
 Municiones
 Nippo Kogyo
 Norma AS
 Norma Precision AB
 Normark
 North Sylva
 Omnium Celdonien
 Outdoor Brands
 Parabellum
 PB Dionisio
 Peche
 Pronature
 Purnavu Muiza
 Raja Firearms
 Raytrade

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 Raytrade UK Ltd
 Redl Sports
 Riflecraft
 Rivolier
 RUAG Germany
 Safari & Outdoor
 Safari Master
 Sail Outdoors
 Sako
 Sarsilmaz
 Shooting Supply Ltd.
 Skenco Europe
 Skenco International
 Soboce
 Sofarca
 Sologne
 Special Tactical
 Star Force
 Tankeeraq
 Thai National
 The Gunshop
 Topth
 Veidihornid
 Velkoobchod Zbrane
 West Gun Trading Co.
 Wholesale Sports


 SALES - Brokers (Foreign)
 ARLE
 Atlantic Diving Supply
 Aquaterro
 Aquila
 Ascim

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 Azimuth Defense
 B&B Target
 BU Combines
 Banzai SPOL S.R.O.
 Cairo
 Century Dynamics
 Clemente Serna Barrera
 Continental Defence Solutions
 Cornerstone Technica
 Counter Measures Technologies
 Droo Tactical Trading
 DSE Corporation
 Dukef Holdings
 DW Global
 Eton International
 Eurooptic
 G4 Solutions & Research
 Glaser Trading
 Glaucus APS
 Global Nepal Trading & Consultants
 Goldbelt Wolf
 Gravel Agency
 Hantaurus Shot OY
 Helmut Hoffman - Germany
 Hyphen Industrial
 Iberfix
 Igniter
 Importadora
 K Tree Corp.
 Korea Infomax Science
 Kornnarath Ltd.
 LE&M Distributors
 Leonowens

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 LHB Ltd.
 MG Suber & Associates
 Magne Landro AS
 Magnum Vadasz
 Milipol ZRT
 Mission Equipment Sweden
 Naphantorn Limited Partnership
 Nathat
 PB Dionisio
 Poligoni Shenjetarise Katana
 Priamos s Coumas
 Prof Investment Co.
 Promoteq Sandviken
 Quintilio Chesi E Hijos
 Rainier Arms
 Rein International Group
 Rescomp
 Richmond Global Traders
 Riflecraft
 Rigg AS
 Rivolier SAS
 Royal Defence
 RUAG Ammotec
 SEEEP
 Sirien SA
 Tactical Power
 Tactical Trading
 Thai National Trading Co.
 UMO
 Val Redena
 W.H. Brennan
 XTEK



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 SALES - Foreign Governments
 Republic of Tunisia
 Royal Defence, for Resale to Thailand


 SALES - U.S. Government
 US Department of Homeland Security - FLETC
 US Department of Justice
 US Army Contracting Command - Foreign Military Sales
 NSWC
 US Department of Energy
 US21 Inc. / US Department of State
 US Department of Agriculture - FS
 US SOCOM - United States Special Operations Command
 US Department of Homeland Security - ICE
 US Department of Homeland Security - USSS
 US Department of State
 FRS


 LICENSING - Outbound Trademark Licenses
 Ashgrove Marketing
 Baschieri & Pellagri
 Buck Knives
 Coastal Pet
 Crosman / Velocity Outdoor
 Deperate Enterprises
 Gator Cases
 High Performance Designs
 IRIS
 Nippo Kogyo
 Open Roads Brands
 Outdoor Cap
 PEM America
 SMK

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 Smoky Mountain Knife Works
 Southern Fried Cotton
 Top Promotions
 Vintage Editions


 LICENSING - Inbound Licenses
 Haas Outdoors, Inc.
 Jordan Outdoor Enterprises, Ltd.
 MagPul Industries Corp.
 National Machinery
 Ducks Unlimited
 Norgon, LLC
 Silvers, Robert
 Advanced Technology International USA, LLC
 Veil Camo LLC


 MARKETING - TV Sponsorship Agreements
 Heartland Waterfowl
 Independent Hunting
 Outdoor Sportsman Group


 MARKETING - Marketing Transaction Agreements
 NRA
 Delta Waterfowl
 Full Curl Society
 National Wild Turkey Federation
 Outdoor Sportsman Group/KSE Sportsman
 Pheasants Forever
 Rocky Mountain Elk Foundation
 Rocky Mountain Elk Foundation (1st amendment)
 Ruffed Grouse Society
 SportscarVintage Racing Association
 Western Hunting & Conservation Expo

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 Sportsmen for Fish & Wildlife
 Whitetails Unlimited


 MARKETING - Event Sponsorship Agreements
 None


 MARKETING - Conservation Sponsorship Agreements
 Ducks Unlimited
 CONSUMER SERVICE - Rebate Services
 Velocity


 CONSUMER SERVICE - Warranty and Repair Services
 Wild West Guns
 Sprague’s Sports Inc.
 J & G Gunsmithing
 Higher Power Outfitters Inc.
 Scheels All Sport
 Mann & Son Sporting Goods
 Paducah Shooters Supply
 Williams Gun Sight
 Dick Williams Gun Shop, Inc.
 Alhman’s Inc.
 B&B Arms
 Skip’s Gun Shop
 Wild West Guns
 The Gunworks of Central New York
 Sports World
 Allison & Carey Gunworks
 Southland Gun Works, Inc.
 Scheels All Sport
 Triton Arms
 Carter Gunsmithing



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 CUSTOMER SERVICE - Co-Op Program
 None
 FULFILLMENT - Logistics and Warehousing
 Geodis
 Continental Traffic Service
 DG Advisor LLC
 Livingston
 GCB Glover Customs Brokers


 FULFILLMENT - Shipping
 CTSI
 FedEx Transportation Services
 Manitoulin Transport
 Old Dominion Freight Line
 Saia Inc.
 YRC Inc.
 Swift Transportation
 United Parcel Service
 Ozark Motor Linds (Ozark Motor Lines)
 A. Duie Pyle
 Teals Express
 XPO Logistics


 COMPLIANCE - Environmental Health & Safety
 Cintas
 HSI
 Safety Kleen
 Siemens
 Site Hawk
 VSC
 Waste Management
 ACE Industries
 Advantage

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 Air Gas
 ALX
 American Equipment Inc.
 Aon
 Apex Engineering
 Bell
 Bronstein Container
 Brown Randall
 Call-Em-All
 Cell Mark
 Clean Harbors
 Concentra
 Confidata
 CTEH
 David’s Fire Equipment
 Dr. McFadden
 ECCI
 Enersolv
 Environmental Resource Center
 Environmental Works
 Fastenal
 Foster Brothers
 Frakes
 FTN
 G4S
 Gallagher Bassett
 Gellco
 GHD
 Grainger
 HazMat
 Heritage
 Howa
 Hoya

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 Independent Electric
 Industrial Health Council
 Industrial Hearing
 Instream
 Interplex
 JJKeller Online
 Johnson Contracting
 K Safety
 Koorsen
 K-ter
 L&T Health Systems
 Life Science Labs
 Lion Technologies
 LSC
 Marx Optical
 Melfie’s Shoes
 Metalico
 MJ Communications
 Modern Shoes
 MSC
 MT2
 Northern Safety
 One Stop
 Opaque Smoke School
 Paper & Dust Pros
 Pollution Control Incorporated
 Shoe Maker
 Simplex Grinell
 Slocum Dickson
 Sound Choice
 Southern Optical (switching vendor)
 Spohns
 Terrell Technical

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 Thompson Tractor
 Tim Crumb
 TK Group
 Utah Fire Equipment
 Utah Manufacturing Association
 Utah Safety Council
 WCF Insurance
 Work Wear


 COMPLIANCE - Firearms, Ammo and Sales
 Navex Global
 Amber Roads
 Orchid Advisors


 FINANCE - Insurance Brokerage
 Aon


 FINANCE - Insurance Policies
 None


 INFORMATION TECHNOLOGY - Software
 SAP
 Microsoft
 DarkTrace
 Windstream


 SALES - International Warehouse and Distribution Agreements
 Borchers, S.A.
 Helmut Hofmann GMBH
 Jaguar Gruppen A/S
 Midarms, SPRL
 Norma Precision AB
 Raytrade Pty Ltd.

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 Raytrade UK Limited
 Sako Ltd.
 Skenco Europe, Kft.
                                               LEASES
 Norma J. Allen
 Sturgis Economic Development Corporation
 FW Properties, LLC
 Toyota Industries Commercial Finance
 HYG Financial Services
 BCR Enterprises Ltd.
 Empire State Realty Trust (ESRT) First Stamford Place SPE LLC
 Eagle Bulk Shipping International (USA) LLC
 GEODIS Logistics LLC
 Arkansas Copier (De Large)
 Safety Kleen
 Wiese Lifts
 Mail Finance Inc.
 Stout Industrial (Tom Stout and Pam Stout)
 PAM Industrial Properties
 Applied Combustion
 MacCopy
 Great America Financial/Toshiba Business Solutions
 Glassell Family LLC
 S&K Industries
 PanCal Southhaven One 127, LLC




                             OTHER PARTIES SUBMITTING LOI’S
 (CONFIDENTIAL)




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                                              Schedule 2

                             Potential Connections or Related Parties

     M-III previously was engaged in April 2018 by O’Melveny & Myers LLP and FGI Operating
      Company, LLC to provide financial advisory services to them. Pursuant to that engagement,
      M-III provided services, through O’Melveny & Myers LLP, to affiliates of Franklin Templeton
      and JPMorgan Asset Management, who at that time were lenders to FGI Operating Company
      and later became lenders to, and equity interest holders of, the Debtors. Work on that
      engagement was completed in June 2018 and M-III has been paid in full for that work. To the
      best knowledge of the senior professionals at M-III, such engagement does not create interests
      adverse to the Debtors and was not in connection with these cases.

     Mohsin Y. Meghji, the Managing Partner of M-III, was a founder and sponsor of M III
      Acquisition Corp., which consummated an initial public offering in 2016 in which Cantor
      Fitzgerald Securities served as lead underwriter. To the best knowledge of the senior
      professionals at M-III on the date hereof, such relationship was unrelated to the Debtors, does
      not create interests adverse to the Debtors and is not in connection with these cases.

     Mohsin Y. Meghji, the Managing Partner of M-III, currently serves as an independent director
      on the Board of Directors of Frontier Communications Corp. To the best knowledge of the
      senior professionals at M-III on the date hereof, Mr. Meghji’s role with Frontier has been
      unrelated to the Debtors, does not create interests adverse to the Debtors and is not in
      connection with these cases.

     M-III or its senior professionals also have recently had, currently have, and in the future are
      likely to have, relationships in the ordinary course of business with professionals (including
      law firms, accountants, financial consultants, and other professionals and service providers)
      (each, an “Ancillary Entity”) who may be involved in these proceedings. Such relationships
      may include, among other things, M-III or its senior professionals (a) appearing in transactions
      and cases that involve Ancillary Entities and, (b) serving as advisor where law firms or
      financial advisors that constitute Ancillary Entities have represented M-III’s client or other
      parties-in-interest. The entities shown on Schedule 1 who constitute (or whose affiliates
      constitute) Ancillary Entities include, without limitation, the following:

               o   O’Melveny & Myers LLP
               o   Burr & Forman
               o   Akin Gump Strauss Hauer & Feld LLP
               o   Ducera Partners LLC

      To the best knowledge of the senior professionals at M-III on the date hereof, each such
      relationship has been unrelated to the Debtors, does not create interests adverse to the Debtors
      and is not in connection with these cases.

     M-III has recently represented, currently represents, and may in the future represent, credit
      facility agents and syndicate lenders (the “Financial Entities”) who may be involved in these

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      proceedings in various engagements unrelated to the Debtors or these proceedings. The
      entities shown on the Schedule 1 who constituted (or whose affiliates constitute) Financial
      Entities include, without limitation, the following:

               o   JP Morgan Chase Bank, NA
               o   Wells Fargo Bank
               o   Bank of America
               o   Regions Bank
               o   Franklin Templeton

      To the best knowledge of the senior professionals at M-III on the date hereof, such relationships
      have been unrelated to the Debtors, do not create interests adverse to the Debtors and are not
      in connection with these cases.

     M-III purchases services in the ordinary course of business and in the open market from
      numerous vendors who as serve as vendors and contact counterparties to the Debtors. To the
      best knowledge of the senior professionals at M-III on the date hereof, such relationships have
      been unrelated to the Debtors, do not create interests adverse to the Debtors and are not in
      connection with these cases.

     M-III and its professionals participate in many proceedings and transactions in various federal
      bankruptcy courts throughout the country and, as a result, has in the recent past, currently or
      may in the future participate in cases in which the U.S. Trustee and a United States Bankruptcy
      Judge is involved and certain of those individuals may be parties in interest in this proceeding.
      To the best knowledge of the senior professionals at M-III on the date hereof, such relationships
      have been unrelated to the Debtors, do not create interests adverse to the Debtors and are not
      in connection with these cases.




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                                   Exhibit B

                             Proposed Interim Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


      INTERIM ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
      M-III ADVISORY PARTNERS, LP AS FINANCIAL ADVISOR TO THE DEBTORS

              Upon the Debtors’ Application for Entry of Interim and Final Orders Authorizing the

 Retention and Employment of M-III Advisory Partners, LP as Financial Advisor to the Debtors

 (the “Application”)2 of the above-captioned debtors and debtors in possession (collectively, the

 “Debtors”) for entry of an interim order (this “Interim Order”) pursuant to Bankruptcy Code

 section 327(a) and Bankruptcy Rules 2014(a) and 2016 authorizing the Debtors to retain and

 employ M-III Advisory Partners, LP (“M-III”), as financial advisor for the Debtors effective as of

 [July 27, 2020] (the “Petition Date”), in accordance with the terms and conditions of that certain

 engagement letter executed on April 23, 2020, including any amendments and schedules thereto

 (the “Engagement Agreement”), attached hereto as Exhibit 1, all as more fully set forth in the

 Application; and upon consideration of the Adams Declaration filed contemporaneously therewith;



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.

 2
   Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
 in the Application.


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 and upon the First Day Declaration; and it appearing that (i) the Court has jurisdiction over these

 Chapter 11 Cases and the Application under 28 U.S.C. §§ 1334(b) and 157, and the Amended

 General Order of Reference from the United States District Court for the Northern District of

 Alabama dated as of July 17, 1984, (ii) venue of these Chapter 11 Cases and the Application in

 this Court is proper under 28 U.S.C. §§ 1408 and 1409, (iii) the Application is a core proceeding

 pursuant to 28 U.S.C. § 157(b), and the Court may enter interim and final orders consistent with

 Article III of the United States Constitution, and (iv) notice of the Application was adequate and

 proper under the circumstances, and no other or further notice need be given; and this Court being

 satisfied, based on the representations made in the Application and the Adams Declaration, that

 M-III is a “disinterested person” as such term is defined in section 101(14) of the Bankruptcy

 Code, as modified by section 1107(b) of the Bankruptcy Code, and as required under section

 327(a) of the Bankruptcy Code, and that M-III represents no interest adverse to the Debtors’

 estates; and the Court having held an interim hearing, if necessary, to consider the relief requested

 in the Application (the “Interim Hearing”); and upon the record of the Interim Hearing, if any;

 and the Court having determined that the legal and factual bases set forth in the Application

 establish just cause for the relief granted herein; and it appearing that the relief requested in the

 Application is in the best interests of the Debtors, their estates, creditors, and all parties in interest;

 and upon all of the proceedings had before the Court and after due deliberation and sufficient cause

 appearing therefor, it is HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

           1.    The Application is GRANTED on an interim basis as set forth herein.

           2.    In accordance with Bankruptcy Code section 327(a), the Debtors are authorized to

 employ and retain M-III as their financial advisor effective as of the Petition Date under the terms

 set forth in the Application, the Adams Declaration, and the Engagement Agreement, including


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 the Fee Structure and Indemnification Provisions set forth therein (as modified by this Interim

 Order).

           3.   M-III shall be entitled to allowance of compensation and reimbursement of

 expenses, upon the filing and approval of interim and final applications pursuant to the Bankruptcy

 Rules and such other orders as this Court may direct, including, without limitation, any order of

 this Court establishing procedures for interim compensation and reimbursement of professionals

 retained in these Chapter 11 Cases.

           4.   The terms of the Engagement Agreement, as modified by this Interim Order, are

 reasonable terms and conditions of employment and are approved.

           5.   M-III shall use reasonable efforts to avoid any duplication of services provided by

 any of the Debtors’ other retained professionals in these Chapter 11 Cases.

           6.   The Indemnification Provisions set forth in the Engagement Agreement are

 approved, subject during the pendency of these Chapter 11 Cases to the following:

                a. if, before the earlier of (i) the entry of an order confirming a chapter 11 plan in
                   these Chapter 11 Cases (that order having become a final order no longer
                   subject to appeal), and (ii) the entry of an order closing these Chapter 11 Cases,
                   M-III believes that it is entitled to the payment of any amounts by the Debtors
                   on account of the Debtors’ indemnification, contribution and/or reimbursement
                   obligations under the Engagement Agreement, as modified by this Interim
                   Order, including without limitation the advancement of defense costs, M-III
                   must file an application therefore in this Court, and the Debtors may not pay
                   any such amounts to M-III before the entry of an order by this Court approving
                   such payment. This subparagraph (a) is intended only to specify the period
                   during which the Court shall have jurisdiction over any request by M-III for
                   indemnification, contribution or reimbursement and is not a provision limiting
                   the duration of the Debtors’ obligation to indemnify;

                b. subject to the provisions of subparagraph (c) below, the Debtors are authorized
                   to indemnify, and shall indemnify, M-III in accordance with the Engagement
                   Agreement for any claim arising from related to or in connection with the
                   services provided for, whether prepetition or postpetition, in the Engagement
                   Agreement; and


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                 c. notwithstanding any provisions of the Engagement Agreement to the contrary,
                    the Debtors shall have no obligation to indemnify M-III or provide contribution
                    or reimbursement to M-III for any claim or expense that is either (i) judicially
                    determined to have resulted primarily from the willful misconduct, gross
                    negligence, bad faith or self-dealing of M-III, or (ii) settled prior to a judicial
                    determination as to M-III’s willful misconduct, gross negligence, bad faith or
                    self-dealing, but determined by the Court, after notice and a hearing pursuant
                    to this subparagraph (c), to be a claim or expense for which M-III should not
                    receive indemnity, contribution or reimbursement under the terms of the
                    Engagement Agreement.

           7.    To the extent there may be any inconsistency between the terms of the Application,

 the Engagement Agreement, the Adams Declaration and this Interim Order, this Interim Order

 shall govern.

           8.    Notice of the Application is adequate under Bankruptcy Rule 6004(a).

           9.    The Debtors are authorized to take all actions necessary to implement the relief

 granted in this Interim Order.

           10.   The final hearing (the “Final Hearing”) on the Application is scheduled for

 _____________, 2020, at __:__ _.m., Central Time, before this Court.              Any objections or

 responses to entry of a final order on the Application shall be filed on or before 4:00 p.m. Central

 Time on __________, 2020, and served on the following parties: (a) proposed counsel for the

 Debtors, O’Melveny & Myers LLP, 400 South Hope Street, Los Angeles, CA, 90071 (Attn:

 Stephen H. Warren and Karen Rinehart) (Emails: swarren@omm.com; krinehart@omm.com) and

 Burr & Forman LLP, 420 20th Street North, Suite 3400, Birmingham, AL 35203 (Attn: Derek F.

 Meek and Hanna Lahr) (Emails: dmeek@burr.com; hlahr@burr.com); (b) the Office of the

 Bankruptcy Administrator for the Northern District of Alabama, P.O. Box 3045, Decatur, AL

 35602 (Attn: Richard Blythe) (Email: richard_blythe@alnba.uscourts.gov); and (c) counsel to the

 Creditors’ Committee (if any). In the event no objections to the entry of a final order on the




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 Application are timely received, this Court may enter a final order without need for a hearing

 thereon.

           11.   No later than two (2) business days after the date this Interim Order is entered, the

 Debtors shall cause this Interim Order to be served via first class U.S. mail on the following parties,

 which shall constitute adequate notice of the Final Hearing on the Application: (i) the Bankruptcy

 Administrator; (ii) the Debtors’ consolidated list of creditors holding the forty largest unsecured

 claims; (iii) counsel to Whitebox Advisors LLC, as Priority Term Loan Lender; (iv) counsel to

 Cantor Fitzgerald Securities, as Priority Term Loan Agent under the Debtors’ prepetition Priority

 Term Loan Credit Agreement; (v) counsel to Ankura Trust Company, LLC, as FILO Agent under

 the Debtors’ prepetition FILO Term Loan Agreement, and as Exit Term Loan Agent under the

 Debtors’ prepetition Exit Term Loan Agreement; (vi) counsel to Franklin Advisors, Inc., as FILO

 Lender; (vii) the United States Internal Revenue Service; (viii) counsel to the United Mine

 Workers of America; and (ix) all parties entitled to notice pursuant to Bankruptcy Rule 2002.

           12.   The Court shall retain jurisdiction to hear and determine all matters arising from or

 related to the implementation, interpretation, and/or enforcement of this Interim Order.


 Dated: _______________, 2020                          ____________________________________
                                                       UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                           M-III Engagement Agreement




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                                                                               April 23, 2020

 Remington Arms Company, LLC
 870 Remington Drive
 Madison, NC 27025-0700

                                         Engagement Letter

 Ladies and Gentlemen:

 This letter agreement (this “Agreement”) sets forth the terms and conditions of the engagement
 (the “Engagement”) of M-III Advisory Partners, LP (“M-III”) to provide the Services (as defined
 below) to Remington Arms Company, LLC and certain of its affiliates (collectively, the “Client”).
 M-III and the Client are collectively referred to in this Agreement as the “Parties.”

         1. Services: The Client hereby retains M-III to provide, and M-III hereby agrees to
 provide, the following services (the “Services”) upon the terms and subject to the conditions set
 forth in this Agreement:

               (a) assist the Client in the development and administration of its short-term cash
        flow forecasting, budgeting and related methodologies, as well as its cash management
        planning;

                (b) provide such assistance as reasonably may be required by the Client its
        management and advisors in connection with preparation for and conduct of a
        reorganization process, including, without limitation, (i) development of restructuring
        plans and strategic alternatives intended to maximize the enterprise value and (ii)
        development and presentation of any related forecasts and monthly operating plans and
        results that may be required by creditor constituencies in connection with negotiations or
        by the Client for other corporate purposes;

                (c) in the event that the Client commences a bankruptcy case (the “Case”), the
        Client so requests and, to the extent necessary, the relevant United States Bankruptcy Court
        (the “Court”) so approves, assist the Client in obtaining and presenting such information
        as may be required by the parties in interest to the Case and bankruptcy process, including
        any creditors’ committees and the Court, with such information to include, among other
        things, budgets and financial models required in connection with any debtor-in-possession
        financing to be obtained by the Client;

               (d) assist the professionals who are representing the Client in the reorganization
        process or who are working for the Client’s various stakeholders to coordinate their efforts
        and individual work product in order to be consistent with the Client’s overall restructuring
        goals;

          M-III ADVISORY PARTNERS, LP • 130 WEST 42ND STREET, 17TH FLOOR, NEW YORK, NY 10036
                     T: (212) 716-1491 • F: (212) 531-4532 • WWW.MIIIPARTNERS.COM

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                (e) assist, if required, the Client in communications and negotiations with its outside
        constituents, including creditors, trade vendors and their respective advisors;

                (f) provide such additional services as M-III and the Client shall otherwise agree
        in writing.

         2. Engagement Term. (a) The Engagement shall commence on the date of acceptance of
 this Agreement and may be terminated by either Party at any time upon ten business days’ written
 notice. Following any such termination, neither Party shall have further liability to the other,
 except with respect to fees and expenses earned and incurred through the date of termination and
 any provisions of this Agreement which are expressly stated to survive its termination or
 expiration.

              (b) In the event that the Client commences a Case, the Client will promptly apply to
 the Court for approval of M-III’s retention nunc pro tunc to the date of filing. The form of retention
 application and proposed order shall be reasonably acceptable to M-III and M-III shall have no
 obligation to provide any further services if the Client becomes a debtor under the Bankruptcy
 Code unless M-III's retention under the terms of the Agreement is approved by a final order of the
 Court reasonably acceptable to M-III. The Client shall assist, or cause its counsel to assist, with
 filing, serving and noticing of papers related to M-III's retention and fee and expense applications.

        3. Staffing. M-III will staff a team that it believes to be appropriate to provide the Services
 in accordance with the terms of this Agreement. The individual members of the team are subject
 to change by M-III from time to time in its sole discretion.

         4. Compensation for Services. (a) M-III’s compensation for services rendered under this
 Agreement shall be paid by the Client by wire transfer of immediately available funds in
 accordance with instructions provided from time to time by M-III to the Client and will consist of
 the following:

                (i)    Retainer: M-III presently holds a $200,000.00 retainer balance from the
        Client (the “Retainer”). All billings for fees, expenses and any other amounts due and
        owing hereunder will be paid by drawings against the Retainer and the Client shall be
        obligated to promptly replenish the Retainer in advance of any further Services being
        provided hereunder. The Retainer is not intended to be an estimate of the fees and expenses
        for the Engagement. Once received by us, the Retainer and any additional amounts received
        by M-III as replenishment of the Retainer will irrevocably become the property of M-III,
        and shall not be subject to any claim of set-off, recoupment or other defense in respect of
        M- III's ownership thereof or entitlement to such funds under the terms hereof.




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                (ii)    Hourly Fees: As compensation for providing the Services hereunder, M-III
        shall be entitled to non-refundable professional fees based on the actual hours incurred by
        M-III personnel on matters pertinent to this case (the “Hourly Fees”). The Hourly Fees
        shall be based upon the following hourly rates:

                                Professional           Standard Rate
                              Managing Partner             $1,150
                              Managing Director         $900 - $1,025
                                   Director              $725 - $825
                                Vice President              $650
                               Senior Associate             $550
                                  Associate                 $475
                                   Analyst                  $375

        The Hourly Fees shall be billed by M-III to the Client twice per month (or more frequently
        if M-III so elects) by M-III furnishing to the Client copies of an invoice for the Hourly Fees
        in respect of the billing period. As previously noted, M-III is authorized to apply the
        Retainer to such amounts and, to the extent that the Retainer is insufficient to pay the
        amounts then due, the Client shall pay such excess by wire transfer of immediately
        available funds within three (3) business days after the date of service of the relevant
        invoice. M-III may adjust its billing rates from time to time in the normal course of
        business upon notice to the Client.

                (iii) Expenses: In addition to any compensation for providing the Services, the
        Client shall reimburse M-III for all reasonable and documented out-of-pocket expenses
        incurred in the performance of the Services (including, without limitation, reasonable travel
        costs). Such reimbursement shall be paid by application of the Retainer and, to the extent
        that the Retainer is insufficient to pay such amounts, by wire transfer within three (3)
        business days after delivery by M-III to the Client of a reasonably detailed invoice for
        reimbursement thereof.

         (b)    In the event that the Retainer is not replenished upon our request, or amounts
 payable hereunder are not paid within three (3) business days of the date when due, such amounts
 shall be deemed "past due" and M-III shall have the right to suspend further Services until payment
 is received on past due invoices and/or the Retainer is replenished. In the event that M-III so
 suspends the Services, M-III shall not be responsible or liable for any resulting loss, damage or
 expense due to such suspension.

         (c)    Notwithstanding anything to the contrary contained in this Section 4, in the event
 that a Case shall be commenced, then the Company promptly shall seek an order of the Court
 approving the retention of M-III as its financial advisor and, upon such approval and during the
 continuance of such Case, amounts owing to M-III under this Section 4 shall be submitted monthly
 to the Court for review and payment in accordance with the guidelines and rules promulgated by
 the Court for such matters.




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         (c)     All fees payable to M-III are exclusive of taxes or similar charges, which shall be
 the sole obligation of the Client (other than any taxes which may be payable on account of M-III’s
 income generally, which shall be the obligation of M-III).

         5. Cooperation from Client. In order to properly perform the Services and fulfill its
 responsibilities on a timely basis, M-III will rely on the timely cooperation of the Client and its
 other professional advisors, including, without limitation, making available to M-III relevant data,
 information and personnel, performing any tasks or responsibilities assigned to the Client and
 notifying M-III of any issues or concerns that the Client may have relating to the Services. The
 Client will provide M-III with reasonable access to all personnel, books and records of the Client
 and its subsidiaries, as well as to all advisors and professionals retained by the Client and its
 Subsidiaries. The Client understands and acknowledges that M-III’s proper delivery of the
 Services is dependent upon timely decisions and approvals by the Client and its management. M-
 III shall have no responsibility or liability for any delays, additional costs or other deficiencies
 caused by the Client failing to properly fulfill its responsibilities under this Agreement.

         6. Deliverables. (a) In connection with the Engagement, M-III may furnish the Client
 with information, advice, reports, analyses, presentations or other materials (the "Deliverables").
 The Deliverables may contain factual data, the interpretation of which may change over the project
 term as more information or better understanding becomes available. The Client acknowledges
 that M-III will have no obligation to update the Deliverables as part of the Services in the event of
 such a change.

             (b) Any materials prepared by M-III are solely for the confidential use of the Client
 and its directors, officers, employees and advisors and will not be distributed, reproduced,
 summarized, referred to, disclosed publicly or given to any other person without the prior written
 consent of M-III (with such consent not to be unreasonably withheld in the case of distribution to
 parties in interest to the Case and their advisors), provided that such permission shall not be
 required if the materials are required to be disclosed by applicable law or by order or act of any
 court or governmental or regulatory authority or body. M-III will not provide such materials to
 any other person (natural or otherwise) without the consent of the Client or its counsel.

          (c) The provisions of this Section shall survive the termination or expiration of this
 Agreement.

       7. Limitations on Services. (a) The Services are limited to those specifically noted in this
 Agreement.

         (b) M-III does not provide accounting or tax-related assistance and no Deliverable or other
 information or advice provided to the Client shall be deemed to be accounting or tax-related
 assistance. The Client shall be solely responsible for determining the accounting and tax-related
 implications of the Deliverables and other information and advice provided to it by M-III. M-III
 shall not express any professional opinions on financial statements or perform attest procedures




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 with respect to other information in conjunction with the Engagement. The Services are not
 designed, nor should they be relied upon, to disclose weaknesses in internal controls, financial
 statement errors, irregularities or illegal acts. M-III shall assume the accuracy and completeness
 of all information submitted by or on behalf of the Client to M-III for analysis and which will form
 the basis of M-III’s conclusions, without any obligation of M-III to verify the accuracy or
 completeness of such information, and M-III shall not be responsible for any analysis, advice or
 other Services to the extent based on inaccurate or incomplete information provided or accepted
 by or on behalf of the Client.

          (c) The Services shall not include preparing, auditing or otherwise attesting in any way
 (including without limitation, with respect to the accuracy, achievability, reliability, relevance,
 usefulness or other appropriateness) to the Client’s financial projections, and the Client has not
 engaged M-III for that purpose. The Services are provided based upon the understanding that the
 Client has sole responsibility for its financial projections (including preparation thereof),
 developing underlying assumptions and providing any disclosure related thereto. To the extent
 that, during the performance of Services hereunder, M-III is required to consider the Client’s
 financial projections, the Client understands that M-III’s procedures with respect to such
 projections do not constitute an examination in accordance with procedures established by the
 American Institute of Certified Public Accountants and do not and are not intended to provide any
 assurance on any aspect of such projections, including, without limitation, the reasonableness of
 the assumptions underlying such projections, nor do they provide assurance that M-III might not
 become aware of significant matters affecting the reasonableness of the projections that might be
 disclosed by more extensive procedures. There will usually be differences between projected and
 actual results, and those differences may be material. The Client understands and agrees that M-
 III will have no responsibility or liability relating to any such differences.

        (b) M-III does not provide investment advice and the Services shall not include the
 provision of investment advice. The Client shall have sole responsibility for all investment
 decisions made by it. Similarly, M-III is providing advisory and consulting services only and will
 not make management decisions for the Client. Although M-III may from time to time suggest or
 recommend options that may be available to the Client, the ultimate decision with respect to such
 options rests with the Client and the Client shall be solely responsible for such decision and its
 outcome. M-III makes no representation, promise or guarantee with respect to the outcome of any
 matter affecting the Client.

        (d) To the extent that the performance of the Services requires that M-III form conclusions
 or reach opinions, M-III shall do so without regard to or consideration of the impact that such
 conclusions or opinions may have on the initiation or outcome of any litigation to which the Client
 is or may become a party.

         (e) The Client shall be solely responsible for the work and fees of any third parties engaged
 by the Client to provide services in connection with the Engagement, regardless of whether such
 third party was recommended to you by M-III or M-III is involved with the services provided by
 it. M-III shall not be responsible for providing or reviewing the advice or services of any such
 third party, including advice as to legal, regulatory, accounting or taxation matters.



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       (f) The provisions of this Section shall survive the termination or expiration of this
 Agreement.

         8. Non-Solicitation. The Client covenants and agrees that, prior to the first anniversary
 of the termination or expiration of this Agreement, it will not, directly or indirectly, hire directly
 or as an independent contractor, or refer to another for employment, any person who was during
 the term of this Agreement an employee or contractor of M-III or any of its affiliated entities who
 was involved on behalf of M-III with the Engagement or the performance of the Services. In the
 event of the breach of the foregoing covenant, the Client shall be liable to M-III, and shall pay on
 demand to M-III, liquidated damages equal to 200% of the total annual compensation of each
 relevant employee for the preceding calendar year (and, in the event that any such employee was
 not employed for the full year, the amount equal to 200% of his or her annualized compensation).
 The Parties mutually agree that the actual damages that would be sustained by M-III as the result
 of any such breach will be substantial and will be impossible to measure accurately, and that the
 foregoing liquidated damage amount is fair and reasonable. The provisions of this Section shall
 survive the termination or expiration of this Agreement.

         9. Confidentiality. (a) Each Party shall use reasonable efforts, but in no event less effort
 than it would use to protect its own confidential information, to keep confidential all non-public
 confidential or proprietary information obtained from the other party in the scope of the
 Engagement (the "Confidential Information"), and neither Party will disclose any Confidential
 Information of the other Party to any other person or entity. For the avoidance of doubt, the term
 "Confidential Information" shall include (i) the terms of this Agreement, including M-III’s
 retention by the Client, (ii) all non-public confidential and proprietary data, plans, reports,
 schedules, drawings, accounts, records, calculations, specifications, flow sheets, computer
 programs, source or object codes, results, models and (iii) any work product relating to the business
 of either party, its subsidiaries, distributors, affiliates, vendors, customers, employees, contractors
 and consultants. Notwithstanding the foregoing, the term “Confidential Information” shall not
 include information that (a) is or becomes publicly available other than as a result of disclosure by
 the receiving Party, (b) was already known to the receiving Party or (c) was independently acquired
 or developed by the receiving Party from a source not known by it to be bound by a confidentiality
 requirement with respect to such information. In performing the Services, M-III will use and rely
 primarily on the Confidential Information and on information available from public sources
 without having independently verified any of such information.

         (b) The foregoing is not intended to prohibit, nor shall it be construed as prohibiting, M-
 III from making such disclosures of Confidential Information that M-III reasonably believes are
 required by law or any regulatory requirement or authority, or to clear client conflicts. M-III also
 may disclose Confidential Information to its partners, directors, officers, employees, independent
 contractors and agents who have a need to know the Confidential Information for the proper
 performance of the Services or otherwise in connection with the Engagement.




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        (c) The provisions of this Section shall survive for a period of two years following the
 termination or expiration of this Agreement and shall supersede any separate confidentiality or
 analogous agreement between M-III and the Client.

         10. Intellectual Property. Upon payment in full of all amounts owing to M-III hereunder,
 the Client will own all Deliverables furnished by M-III to the Client in connection with the
 Services, provided that M-III will retain ownership of (a) all concepts, analyses, know-how, tools,
 frameworks, models and industry perspectives used and/or developed by M-III in connection with
 the Services and (b) all other intellectual property not containing Confidential Information which
 has been developed by M-III outside of the provision of the Services (the “M-III Tools”), it being
 understood that M-III will have no ownership right to, and will maintain in accordance with the
 provisions of this Agreement the confidentiality of, any Confidential Information contained in the
 M-III Tools. To the extent that the Deliverables include any M-III Tools, M-III hereby grants the
 Client a non-exclusive, non-transferable, non-sublicensable worldwide, royalty-free license to use
 and copy the M-III Tools solely as part of the Deliverables and subject to the confidentiality
 provisions contained in this Agreement; provided that, in the event that a Case is commenced,
 nothing contained herein shall be deemed to restrict the transfer of the Company’s license to the
 M-III Tools to any successor to the Company approved by the Court. The Client acknowledges
 and agrees that the M-III Tools are provided to the Client on an “as is” basis and without any
 warranty or condition of any kind (whether express, implied or otherwise), and including without
 limitation any implied warranty of merchantability or fitness for a particular purpose. The
 provisions of this Section shall survive the termination or expiration of this Agreement.

           11. Indemnification. The Client hereby agrees to indemnify and hold harmless M-III and
 its affiliates, equity holders, partners, directors, employees, agents, representatives and contractors
 to the extent described in Annex I to this Agreement, with such Annex I being incorporated herein
 by reference and constituting an integral and enforceable part of this Agreement. The provisions
 of this Section (including, without limitation, the provisions of Annex I) shall survive the
 termination or expiration of this Agreement.

         12. Limitation on Damages. In no event shall M-III or any other Indemnitee be liable to
 the Client or its affiliates, successors, or any person claiming on behalf of or in the right of the
 Client (including the Client’s owners, parents, affiliates, directors, officers, employees, agents,
 security holders, or creditors) for (i) any amount which, when taken together with all losses for
 which M-III and the Indemnitee are liable in connection with this Agreement or the Engagement,
 would exceed the amount of fees for the Services actually received by M-III from the Client in
 connection with the Engagement during the immediately preceding 12 months or (ii) any special,
 consequential, incidental or exemplary damages or loss (or any lost profits, savings or business
 opportunity) (collectively, the “Liability Cap”). This paragraph shall apply regardless of the nature
 of any claim(s) (including claims based on contract, statute, negligence, tort, strict liability or
 otherwise), regardless of any failure of the essential purpose of any remedy and whether or not M-
 III was advised of the possibility of the damage or loss asserted, but shall not apply to the extent
 finally determined by final and non-appealable judgment of a court of competent jurisdiction to be
 prohibited by applicable law. For the avoidance of doubt, the Parties hereby irrevocably agree that
 the Liability Cap is intended to be the total limit of liability for M-III and all other Indemnitee in



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 the aggregate for any and all claims or demand by anyone in connection with this Agreement, the
 Services and the Engagement, including without limitation any liability to the Client and to any
 others making claims relating to the Services and the Engagement. Any such claimants shall
 allocate among themselves any amounts payable by M-III, but the failure of the claimants to reach
 such an agreement shall not affect the enforceability of the Liability Cap. Under no circumstances
 shall the collective liability of M-III and the other Indemnitee in connection with this Agreement
 exceed the Liability Cap. The provisions of this Section shall survive the termination or expiration
 of this Agreement.

         13. Client Acknowledgement. The Client hereby acknowledges and agrees that M-III may,
 in the ordinary course of its business, serve clients who are competitive with, or have conflicting
 interests with, the Client. Consistent with its confidentiality obligations hereunder and its
 confidentiality obligations to its other clients, M-III will not advise or consult to the Client with
 respect to any aspect of M-III’s engagement or potential engagement with any other client,
 potential client or former client. Similarly, M-III will not advise or consult to any other client,
 potential client or former client with respect to any aspect of the Engagement. M-III will maintain
 the confidentiality of the Confidential Information in accordance with the terms of this Agreement
 and, similarly, will not share confidential information of any client, potential client or former client
 of M-III with the Client. The provisions of this Section shall survive the termination or expiration
 of this Agreement.

         14. Miscellaneous. (a) This Agreement (i) constitutes the entire agreement of the Parties
 with respect to the subject matter hereof and supersedes any other communications, understandings
 or agreements (both written and oral) among the parties with respect to the subject matter hereof,
 and (ii) may be modified, amended or supplemented only by prior written agreement of each of
 the Parties.

         (b) M-III acknowledges that, in the event that a Case is commenced, (i) the continued
 retention of M-III by the Company will be subject to the approval of the Court and (ii) the Court
 may require changes in the terms of this Agreement as a condition to providing its approval. Any
 such changes will be subject to M-III’s approval, which shall not be unreasonably withheld.

         (c) The invalidity, illegality, or unenforceability of any provision in or obligation under
 this Agreement in any jurisdiction shall not affect or impair the validity, legality, or enforceability
 of the remaining provisions or obligations under this Agreement or of such provision or obligation
 in any other jurisdiction. If feasible, any such offending provision shall be deemed modified to be
 within the limits of enforceability or validity; provided that, if the offending provision cannot be
 so modified, it shall be stricken and all other provisions of this Agreement in all other respects
 shall remain valid and enforceable.

         (d) M-III’s services hereunder are personal in nature and may not be assigned without the
 written consent of the Client. The obligations of M-III hereunder are owing only to the Client and
 there shall be no third-party beneficiaries of the obligations of M-III hereunder.




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        (e) This Agreement may be executed in any number of counterparts, each of which when
 so executed shall be deemed an original, but all such counterparts shall constitute one and the same
 instrument, and all signatures need not appear on any one counterpart.

         (f) This Agreement and all controversies arising from or related to performance hereunder
 shall be governed by and construed in accordance with the laws of the State of New York
 applicable to contracts to be executed and performed within such state. The Parties hereby submit
 to the exclusive jurisdiction of and venue in the federal and state courts located in New York City
 and waive any right to trial by jury in connection with any dispute related to this Agreement.
 Notwithstanding the foregoing, during such time as the Court has jurisdiction over the Case, the
 Court shall have exclusive jurisdiction and venue with respect to any such dispute. The provisions
 of this paragraph shall survive the termination or expiration of this Agreement.

                                 [Remainder of Page Intentionally Left Blank]




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                                                Annex I

                       AGREEMENTS REGARDING INDEMNIFICATION

 In consideration of M-III performing the Services for the benefit of the Client, the Client (the
 “Indemnitor”) shall indemnify M-III and its affiliates, equity holders, partners, directors,
 employees, agents, representatives and contractors, including past, present or future partners,
 principals and personnel of each (collectively hereinafter called the “Indemnitees”) against all
 costs, fees, expenses, damages, and liabilities (including defense costs) associated with any
 pending or threatened third party claim, action or proceeding (a “Claim”) relating to or arising as
 a result of the Engagement or the provision of the Services, the Client’s use or disclosure of the
 Deliverables, or this Agreement (“Losses”). This provision is intended to apply regardless of the
 nature of any Claim (including contract, statute, any form of negligence, whether of the Client, M-
 III, or others, tort, strict liability or otherwise), except to the extent such Losses are determined to
 be the result of M-III’s bad faith, gross negligence or willful misconduct.

 The Indemnitor shall not, without M-III’s prior written consent (which will not be unreasonably
 withheld) settle, compromise, or consent to the entry of any judgment in any pending or threatened
 Claim in respect of which indemnification could reasonably be sought hereunder (whether or not
 M-III or any other Indemnitee is an actual or potential party to such Claim), if such settlement,
 compromise, or consent does not include an unconditional release of each Indemnitee from all
 liability arising out of such Claim; provided, however, that the Indemnitor shall not enter into any
 such settlement, compromise or consent of a Claim without M-III’s prior written consent (which
 may be granted or withheld in M-III’s sole discretion) if such settlement, compromise or
 proceeding provides for injunctive relief against an Indemnitee or an admission of liability by an
 Indemnitee. The Indemnitor shall not be liable hereunder to any Indemnitee for any amount paid
 or payable in the settlement of any action, proceeding or investigation entered into by such
 Indemnitee without the Indemnitor’s written consent.

 Upon receipt by an Indemnitee of actual notice of a Claim against such Indemnitee in respect of
 which indemnity may be sought hereunder, such Indemnitee shall promptly notify the Indemnitor
 with respect thereto. In addition, an Indemnitee shall promptly notify the Indemnitor after any
 action is commenced (by way of service with a summons or other legal process giving information
 as to the nature and basis of the claim) against such Indemnitee in respect of which indemnity may
 be sought hereunder. In any event, failure to notify the Indemnitor shall not relieve the Indemnitor
 from any liability which the Indemnitor may have on account of this indemnity or otherwise,
 except to the extent, and only to the extent, that the Indemnitor shall have been materially
 prejudiced by such failure.

 Indemnitor shall advance all expenses indemnifiable hereunder that are reasonably incurred by or
 on behalf of each Indemnitee in connection with any Claim within thirty (30) days after receipt by
 Indemnitor of a statement or statements from Indemnitee requesting such advance or advances
 from time to time, whether prior to or after final disposition of such Claim. Such statement or
 statements shall reasonably evidence the expenses incurred by Indemnitee and shall include or be
 preceded or accompanied by a written undertaking by or on behalf of Indemnitee to repay any
 expenses advanced if it shall ultimately be determined that Indemnitee is not entitled to be




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 indemnified against such expenses. Any advances and undertakings to repay pursuant to this
 paragraph shall be unsecured and interest free.

 To the extent that the Indemnitor so elects, it shall be entitled to assume the defense, with counsel
 selected by the Indemnitor (and approved by M-III, with such approval not to be unreasonably
 withheld), of any action that is the subject of the proceeding in respect of which indemnity may be
 sought. After notice to the Indemnitees of its election to assume the defense thereof, the
 Indemnitor will not be liable to the Indemnitee under this Agreement for any expenses
 subsequently incurred by such Indemnitee in connection with the defense thereof except as
 otherwise provided below. Such Indemnitee shall have the right to employ counsel of its choice
 in such Claim, but the fees and expenses of such counsel incurred after notice from the Indemnitor
 of the assumption of the defense thereof shall be at the expense of the Indemnitee unless the
 employment of counsel by the Indemnitee has been authorized by the Indemnitor, in which case
 the reasonably incurred fees and expenses of such counsel of the Indemnitee shall be at the expense
 of the Indemnitor.

 The Client agrees that neither M-III nor any other Indemnitee shall have any liability (whether
 direct or indirect and regardless of the legal theory advanced) to the Client or any person or entity
 asserting claims on behalf of or in right of the Client caused by, relating to, based upon or arising
 out of (directly or indirectly) this Agreement or the Engagement, except for losses, claims,
 damages, penalties or liabilities incurred by the Client which are finally determined by a non-
 appealable judgment of a court of competent jurisdiction to have resulted primarily and directly
 from the bad faith, willful misconduct or gross negligence of M-III or any other Indemnites and
 do not exceed the Liability Cap.

 In the event that any M-III personnel are requested or required to appear as a witness in connection
 with any claim, action or proceeding relating to or arising as a result of the Engagement or the
 provision of the Services, the Client’s use or disclosure of the Deliverables, or this Agreement, the
 Indemnitor shall, to the extent permitted by applicable law, reimburse M-III for all reasonable and
 documented out-of-pocket expenses incurred by it in connection with such personnel appearing
 and preparing to appear as a witness, including, without limitation, the reasonable fees and
 disbursements of its legal counsel, and to compensate M-III at a rate equal to M-III’s then standard
 hourly rate for the relevant personnel for each day that such personnel is involved in preparation,
 discovery proceedings or testimony pertaining to such Claim. Additionally, M-III will have the
 right to obtain advice from independent legal counsel with respect to its actual or potential
 obligations and liability hereunder and the Client will promptly reimburse M-III for the reasonable
 out-of-pocket fees and expenses paid by M-III on account thereof.

 The provisions of this Annex I shall be deemed to be an integral part of this Agreement to which
 this Annex I is affixed and shall survive the termination or expiration of this Agreement for any
 reason. The provisions of this Annex I shall be binding upon the Client and its successors and
 assigns.




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                                   Exhibit C

                              Proposed Final Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


       FINAL ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
      M-III ADVISORY PARTNERS, LP AS FINANCIAL ADVISOR TO THE DEBTORS

              Upon the Debtors’ Application for Entry of Interim and Final Orders Authorizing the

 Retention and Employment of M-III Advisory Partners, LP as Financial Advisor to the Debtors

 (the “Application”)2 of the above-captioned debtors and debtors in possession (collectively, the

 “Debtors”) for entry of a final order (this “Final Order”) pursuant to Bankruptcy Code section

 327(a) and Bankruptcy Rules 2014(a) and 2016 authorizing the Debtors to retain and employ M-

 III Advisory Partners, LP (“M-III”), as financial advisor for the Debtors effective as of [July 27,

 2020] (the “Petition Date”), in accordance with the terms and conditions of that certain

 engagement letter executed on April 23, 2020, including any amendments and schedules thereto

 (the “Engagement Agreement”), attached hereto as Exhibit 1, all as more fully set forth in the

 Application; and upon consideration of the Adams Declaration filed contemporaneously therewith;



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.

 2
   Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
 in the Application.


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 and upon the First Day Declaration; and it appearing that (i) the Court has jurisdiction over these

 Chapter 11 Cases and the Application under 28 U.S.C. §§ 1334(b) and 157, and the Amended

 General Order of Reference from the United States District Court for the Northern District of

 Alabama dated as of July 17, 1984, (ii) venue of these Chapter 11 Cases and the Application in

 this Court is proper under 28 U.S.C. §§ 1408 and 1409, (iii) the Application is a core proceeding

 pursuant to 28 U.S.C. § 157(b), and the Court may enter interim and final orders consistent with

 Article III of the United States Constitution, and (iv) notice of the Application was adequate and

 proper under the circumstances, and no other or further notice need be given; and this Court being

 satisfied, based on the representations made in the Application and the Adams Declaration, that

 M-III is a “disinterested person” as such term is defined in section 101(14) of the Bankruptcy

 Code, as modified by section 1107(b) of the Bankruptcy Code, and as required under section

 327(a) of the Bankruptcy Code, and that M-III represents no interest adverse to the Debtors’

 estates; and the Court having held a final hearing, if necessary, to consider the relief requested in

 the Application (the “Final Hearing”); and upon the record of the Final Hearing, if any; and the

 Court having determined that the legal and factual bases set forth in the Application establish just

 cause for the relief granted herein; and it appearing that the relief requested in the Application is

 in the best interests of the Debtors, their estates, creditors, and all parties in interest; and upon all

 of the proceedings had before the Court and after due deliberation and sufficient cause appearing

 therefor, it is HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

           1.    The Application is GRANTED on a final basis as set forth herein.

           2.    In accordance with Bankruptcy Code section 327(a), the Debtors are authorized to

 employ and retain M-III as their financial advisor effective as of the Petition Date under the terms

 set forth in the Application, the Adams Declaration, and the Engagement Agreement, including


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 the Fee Structure and Indemnification Provisions set forth therein (as modified by this Final

 Order).

           3.   M-III shall be entitled to allowance of compensation and reimbursement of

 expenses, upon the filing and approval of interim and final applications pursuant to the Bankruptcy

 Rules and such other orders as this Court may direct, including, without limitation, any order of

 this Court establishing procedures for interim compensation and reimbursement of professionals

 retained in these Chapter 11 Cases.

           4.   The terms of the Engagement Agreement, as modified by this Final Order, are

 reasonable terms and conditions of employment and are approved.

           5.   M-III shall use reasonable efforts to avoid any duplication of services provided by

 any of the Debtors’ other retained professionals in these Chapter 11 Cases.

           6.   The Indemnification Provisions set forth in the Engagement Agreement are

 approved, subject during the pendency of these Chapter 11 Cases to the following:

                d. if, before the earlier of (i) the entry of an order confirming a chapter 11 plan in
                   these Chapter 11 Cases (that order having become a final order no longer
                   subject to appeal), and (ii) the entry of an order closing these Chapter 11 Cases,
                   M-III believes that it is entitled to the payment of any amounts by the Debtors
                   on account of the Debtors’ indemnification, contribution and/or reimbursement
                   obligations under the Engagement Agreement, as modified by this Final Order,
                   including without limitation the advancement of defense costs, M-III must file
                   an application therefore in this Court, and the Debtors may not pay any such
                   amounts to M-III before the entry of an order by this Court approving such
                   payment. This subparagraph (a) is intended only to specify the period during
                   which the Court shall have jurisdiction over any request by M-III for
                   indemnification, contribution or reimbursement and is not a provision limiting
                   the duration of the Debtors’ obligation to indemnify;

                e. subject to the provisions of subparagraph (c) below, the Debtors are authorized
                   to indemnify, and shall indemnify, M-III in accordance with the Engagement
                   Agreement for any claim arising from related to or in connection with the
                   services provided for, whether prepetition or postpetition, in the Engagement
                   Agreement; and


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                 f. notwithstanding any provisions of the Engagement Agreement to the contrary,
                    the Debtors shall have no obligation to indemnify M-III or provide contribution
                    or reimbursement to M-III for any claim or expense that is either (i) judicially
                    determined to have resulted primarily from the willful misconduct, gross
                    negligence, bad faith or self-dealing of M-III, or (ii) settled prior to a judicial
                    determination as to M-III’s willful misconduct, gross negligence, bad faith or
                    self-dealing, but determined by the Court, after notice and a hearing pursuant
                    to this subparagraph (c), to be a claim or expense for which M-III should not
                    receive indemnity, contribution or reimbursement under the terms of the
                    Engagement Agreement.

           7.    To the extent there may be any inconsistency between the terms of the Application,

 the Engagement Agreement, the Adams Declaration and this Final Order, this Final Order shall

 govern.

           8.    Notice of the Application is adequate under Bankruptcy Rule 6004(a).

           9.    The Debtors are authorized to take all actions necessary to implement the relief

 granted in this Final Order.

           10.   The Court shall retain jurisdiction to hear and determine all matters arising from or

 related to the implementation, interpretation, and/or enforcement of this Final Order.


 Dated: _______________, 2020
                                                       UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                           M-III Engagement Agreement




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                                                                               April 23, 2020

 Remington Arms Company, LLC
 870 Remington Drive
 Madison, NC 27025-0700

                                         Engagement Letter

 Ladies and Gentlemen:

 This letter agreement (this “Agreement”) sets forth the terms and conditions of the engagement
 (the “Engagement”) of M-III Advisory Partners, LP (“M-III”) to provide the Services (as defined
 below) to Remington Arms Company, LLC and certain of its affiliates (collectively, the “Client”).
 M-III and the Client are collectively referred to in this Agreement as the “Parties.”

         1. Services: The Client hereby retains M-III to provide, and M-III hereby agrees to
 provide, the following services (the “Services”) upon the terms and subject to the conditions set
 forth in this Agreement:

               (a) assist the Client in the development and administration of its short-term cash
        flow forecasting, budgeting and related methodologies, as well as its cash management
        planning;

                (b) provide such assistance as reasonably may be required by the Client its
        management and advisors in connection with preparation for and conduct of a
        reorganization process, including, without limitation, (i) development of restructuring
        plans and strategic alternatives intended to maximize the enterprise value and (ii)
        development and presentation of any related forecasts and monthly operating plans and
        results that may be required by creditor constituencies in connection with negotiations or
        by the Client for other corporate purposes;

                (c) in the event that the Client commences a bankruptcy case (the “Case”), the
        Client so requests and, to the extent necessary, the relevant United States Bankruptcy Court
        (the “Court”) so approves, assist the Client in obtaining and presenting such information
        as may be required by the parties in interest to the Case and bankruptcy process, including
        any creditors’ committees and the Court, with such information to include, among other
        things, budgets and financial models required in connection with any debtor-in-possession
        financing to be obtained by the Client;

               (d) assist the professionals who are representing the Client in the reorganization
        process or who are working for the Client’s various stakeholders to coordinate their efforts
        and individual work product in order to be consistent with the Client’s overall restructuring
        goals;

          M-III ADVISORY PARTNERS, LP • 130 WEST 42ND STREET, 17TH FLOOR, NEW YORK, NY 10036
                     T: (212) 716-1491 • F: (212) 531-4532 • WWW.MIIIPARTNERS.COM

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                (e) assist, if required, the Client in communications and negotiations with its outside
        constituents, including creditors, trade vendors and their respective advisors;

                (f) provide such additional services as M-III and the Client shall otherwise agree
        in writing.

         2. Engagement Term. (a) The Engagement shall commence on the date of acceptance of
 this Agreement and may be terminated by either Party at any time upon ten business days’ written
 notice. Following any such termination, neither Party shall have further liability to the other,
 except with respect to fees and expenses earned and incurred through the date of termination and
 any provisions of this Agreement which are expressly stated to survive its termination or
 expiration.

              (b) In the event that the Client commences a Case, the Client will promptly apply to
 the Court for approval of M-III’s retention nunc pro tunc to the date of filing. The form of retention
 application and proposed order shall be reasonably acceptable to M-III and M-III shall have no
 obligation to provide any further services if the Client becomes a debtor under the Bankruptcy
 Code unless M-III's retention under the terms of the Agreement is approved by a final order of the
 Court reasonably acceptable to M-III. The Client shall assist, or cause its counsel to assist, with
 filing, serving and noticing of papers related to M-III's retention and fee and expense applications.

        3. Staffing. M-III will staff a team that it believes to be appropriate to provide the Services
 in accordance with the terms of this Agreement. The individual members of the team are subject
 to change by M-III from time to time in its sole discretion.

         4. Compensation for Services. (a) M-III’s compensation for services rendered under this
 Agreement shall be paid by the Client by wire transfer of immediately available funds in
 accordance with instructions provided from time to time by M-III to the Client and will consist of
 the following:

                (i)    Retainer: M-III presently holds a $200,000.00 retainer balance from the
        Client (the “Retainer”). All billings for fees, expenses and any other amounts due and
        owing hereunder will be paid by drawings against the Retainer and the Client shall be
        obligated to promptly replenish the Retainer in advance of any further Services being
        provided hereunder. The Retainer is not intended to be an estimate of the fees and expenses
        for the Engagement. Once received by us, the Retainer and any additional amounts received
        by M-III as replenishment of the Retainer will irrevocably become the property of M-III,
        and shall not be subject to any claim of set-off, recoupment or other defense in respect of
        M- III's ownership thereof or entitlement to such funds under the terms hereof.




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                (ii)    Hourly Fees: As compensation for providing the Services hereunder, M-III
        shall be entitled to non-refundable professional fees based on the actual hours incurred by
        M-III personnel on matters pertinent to this case (the “Hourly Fees”). The Hourly Fees
        shall be based upon the following hourly rates:

                                Professional           Standard Rate
                              Managing Partner             $1,150
                              Managing Director         $900 - $1,025
                                   Director              $725 - $825
                                Vice President              $650
                               Senior Associate             $550
                                  Associate                 $475
                                   Analyst                  $375

        The Hourly Fees shall be billed by M-III to the Client twice per month (or more frequently
        if M-III so elects) by M-III furnishing to the Client copies of an invoice for the Hourly Fees
        in respect of the billing period. As previously noted, M-III is authorized to apply the
        Retainer to such amounts and, to the extent that the Retainer is insufficient to pay the
        amounts then due, the Client shall pay such excess by wire transfer of immediately
        available funds within three (3) business days after the date of service of the relevant
        invoice. M-III may adjust its billing rates from time to time in the normal course of
        business upon notice to the Client.

                (iii) Expenses: In addition to any compensation for providing the Services, the
        Client shall reimburse M-III for all reasonable and documented out-of-pocket expenses
        incurred in the performance of the Services (including, without limitation, reasonable travel
        costs). Such reimbursement shall be paid by application of the Retainer and, to the extent
        that the Retainer is insufficient to pay such amounts, by wire transfer within three (3)
        business days after delivery by M-III to the Client of a reasonably detailed invoice for
        reimbursement thereof.

         (b)    In the event that the Retainer is not replenished upon our request, or amounts
 payable hereunder are not paid within three (3) business days of the date when due, such amounts
 shall be deemed "past due" and M-III shall have the right to suspend further Services until payment
 is received on past due invoices and/or the Retainer is replenished. In the event that M-III so
 suspends the Services, M-III shall not be responsible or liable for any resulting loss, damage or
 expense due to such suspension.

         (c)    Notwithstanding anything to the contrary contained in this Section 4, in the event
 that a Case shall be commenced, then the Company promptly shall seek an order of the Court
 approving the retention of M-III as its financial advisor and, upon such approval and during the
 continuance of such Case, amounts owing to M-III under this Section 4 shall be submitted monthly
 to the Court for review and payment in accordance with the guidelines and rules promulgated by
 the Court for such matters.




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         (c)     All fees payable to M-III are exclusive of taxes or similar charges, which shall be
 the sole obligation of the Client (other than any taxes which may be payable on account of M-III’s
 income generally, which shall be the obligation of M-III).

         5. Cooperation from Client. In order to properly perform the Services and fulfill its
 responsibilities on a timely basis, M-III will rely on the timely cooperation of the Client and its
 other professional advisors, including, without limitation, making available to M-III relevant data,
 information and personnel, performing any tasks or responsibilities assigned to the Client and
 notifying M-III of any issues or concerns that the Client may have relating to the Services. The
 Client will provide M-III with reasonable access to all personnel, books and records of the Client
 and its subsidiaries, as well as to all advisors and professionals retained by the Client and its
 Subsidiaries. The Client understands and acknowledges that M-III’s proper delivery of the
 Services is dependent upon timely decisions and approvals by the Client and its management. M-
 III shall have no responsibility or liability for any delays, additional costs or other deficiencies
 caused by the Client failing to properly fulfill its responsibilities under this Agreement.

         6. Deliverables. (a) In connection with the Engagement, M-III may furnish the Client
 with information, advice, reports, analyses, presentations or other materials (the "Deliverables").
 The Deliverables may contain factual data, the interpretation of which may change over the project
 term as more information or better understanding becomes available. The Client acknowledges
 that M-III will have no obligation to update the Deliverables as part of the Services in the event of
 such a change.

             (b) Any materials prepared by M-III are solely for the confidential use of the Client
 and its directors, officers, employees and advisors and will not be distributed, reproduced,
 summarized, referred to, disclosed publicly or given to any other person without the prior written
 consent of M-III (with such consent not to be unreasonably withheld in the case of distribution to
 parties in interest to the Case and their advisors), provided that such permission shall not be
 required if the materials are required to be disclosed by applicable law or by order or act of any
 court or governmental or regulatory authority or body. M-III will not provide such materials to
 any other person (natural or otherwise) without the consent of the Client or its counsel.

          (c) The provisions of this Section shall survive the termination or expiration of this
 Agreement.

       7. Limitations on Services. (a) The Services are limited to those specifically noted in this
 Agreement.

         (b) M-III does not provide accounting or tax-related assistance and no Deliverable or other
 information or advice provided to the Client shall be deemed to be accounting or tax-related
 assistance. The Client shall be solely responsible for determining the accounting and tax-related
 implications of the Deliverables and other information and advice provided to it by M-III. M-III
 shall not express any professional opinions on financial statements or perform attest procedures




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 with respect to other information in conjunction with the Engagement. The Services are not
 designed, nor should they be relied upon, to disclose weaknesses in internal controls, financial
 statement errors, irregularities or illegal acts. M-III shall assume the accuracy and completeness
 of all information submitted by or on behalf of the Client to M-III for analysis and which will form
 the basis of M-III’s conclusions, without any obligation of M-III to verify the accuracy or
 completeness of such information, and M-III shall not be responsible for any analysis, advice or
 other Services to the extent based on inaccurate or incomplete information provided or accepted
 by or on behalf of the Client.

          (c) The Services shall not include preparing, auditing or otherwise attesting in any way
 (including without limitation, with respect to the accuracy, achievability, reliability, relevance,
 usefulness or other appropriateness) to the Client’s financial projections, and the Client has not
 engaged M-III for that purpose. The Services are provided based upon the understanding that the
 Client has sole responsibility for its financial projections (including preparation thereof),
 developing underlying assumptions and providing any disclosure related thereto. To the extent
 that, during the performance of Services hereunder, M-III is required to consider the Client’s
 financial projections, the Client understands that M-III’s procedures with respect to such
 projections do not constitute an examination in accordance with procedures established by the
 American Institute of Certified Public Accountants and do not and are not intended to provide any
 assurance on any aspect of such projections, including, without limitation, the reasonableness of
 the assumptions underlying such projections, nor do they provide assurance that M-III might not
 become aware of significant matters affecting the reasonableness of the projections that might be
 disclosed by more extensive procedures. There will usually be differences between projected and
 actual results, and those differences may be material. The Client understands and agrees that M-
 III will have no responsibility or liability relating to any such differences.

        (b) M-III does not provide investment advice and the Services shall not include the
 provision of investment advice. The Client shall have sole responsibility for all investment
 decisions made by it. Similarly, M-III is providing advisory and consulting services only and will
 not make management decisions for the Client. Although M-III may from time to time suggest or
 recommend options that may be available to the Client, the ultimate decision with respect to such
 options rests with the Client and the Client shall be solely responsible for such decision and its
 outcome. M-III makes no representation, promise or guarantee with respect to the outcome of any
 matter affecting the Client.

        (d) To the extent that the performance of the Services requires that M-III form conclusions
 or reach opinions, M-III shall do so without regard to or consideration of the impact that such
 conclusions or opinions may have on the initiation or outcome of any litigation to which the Client
 is or may become a party.

         (e) The Client shall be solely responsible for the work and fees of any third parties engaged
 by the Client to provide services in connection with the Engagement, regardless of whether such
 third party was recommended to you by M-III or M-III is involved with the services provided by
 it. M-III shall not be responsible for providing or reviewing the advice or services of any such
 third party, including advice as to legal, regulatory, accounting or taxation matters.



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       (f) The provisions of this Section shall survive the termination or expiration of this
 Agreement.

         8. Non-Solicitation. The Client covenants and agrees that, prior to the first anniversary
 of the termination or expiration of this Agreement, it will not, directly or indirectly, hire directly
 or as an independent contractor, or refer to another for employment, any person who was during
 the term of this Agreement an employee or contractor of M-III or any of its affiliated entities who
 was involved on behalf of M-III with the Engagement or the performance of the Services. In the
 event of the breach of the foregoing covenant, the Client shall be liable to M-III, and shall pay on
 demand to M-III, liquidated damages equal to 200% of the total annual compensation of each
 relevant employee for the preceding calendar year (and, in the event that any such employee was
 not employed for the full year, the amount equal to 200% of his or her annualized compensation).
 The Parties mutually agree that the actual damages that would be sustained by M-III as the result
 of any such breach will be substantial and will be impossible to measure accurately, and that the
 foregoing liquidated damage amount is fair and reasonable. The provisions of this Section shall
 survive the termination or expiration of this Agreement.

         9. Confidentiality. (a) Each Party shall use reasonable efforts, but in no event less effort
 than it would use to protect its own confidential information, to keep confidential all non-public
 confidential or proprietary information obtained from the other party in the scope of the
 Engagement (the "Confidential Information"), and neither Party will disclose any Confidential
 Information of the other Party to any other person or entity. For the avoidance of doubt, the term
 "Confidential Information" shall include (i) the terms of this Agreement, including M-III’s
 retention by the Client, (ii) all non-public confidential and proprietary data, plans, reports,
 schedules, drawings, accounts, records, calculations, specifications, flow sheets, computer
 programs, source or object codes, results, models and (iii) any work product relating to the business
 of either party, its subsidiaries, distributors, affiliates, vendors, customers, employees, contractors
 and consultants. Notwithstanding the foregoing, the term “Confidential Information” shall not
 include information that (a) is or becomes publicly available other than as a result of disclosure by
 the receiving Party, (b) was already known to the receiving Party or (c) was independently acquired
 or developed by the receiving Party from a source not known by it to be bound by a confidentiality
 requirement with respect to such information. In performing the Services, M-III will use and rely
 primarily on the Confidential Information and on information available from public sources
 without having independently verified any of such information.

         (b) The foregoing is not intended to prohibit, nor shall it be construed as prohibiting, M-
 III from making such disclosures of Confidential Information that M-III reasonably believes are
 required by law or any regulatory requirement or authority, or to clear client conflicts. M-III also
 may disclose Confidential Information to its partners, directors, officers, employees, independent
 contractors and agents who have a need to know the Confidential Information for the proper
 performance of the Services or otherwise in connection with the Engagement.




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        (c) The provisions of this Section shall survive for a period of two years following the
 termination or expiration of this Agreement and shall supersede any separate confidentiality or
 analogous agreement between M-III and the Client.

         10. Intellectual Property. Upon payment in full of all amounts owing to M-III hereunder,
 the Client will own all Deliverables furnished by M-III to the Client in connection with the
 Services, provided that M-III will retain ownership of (a) all concepts, analyses, know-how, tools,
 frameworks, models and industry perspectives used and/or developed by M-III in connection with
 the Services and (b) all other intellectual property not containing Confidential Information which
 has been developed by M-III outside of the provision of the Services (the “M-III Tools”), it being
 understood that M-III will have no ownership right to, and will maintain in accordance with the
 provisions of this Agreement the confidentiality of, any Confidential Information contained in the
 M-III Tools. To the extent that the Deliverables include any M-III Tools, M-III hereby grants the
 Client a non-exclusive, non-transferable, non-sublicensable worldwide, royalty-free license to use
 and copy the M-III Tools solely as part of the Deliverables and subject to the confidentiality
 provisions contained in this Agreement; provided that, in the event that a Case is commenced,
 nothing contained herein shall be deemed to restrict the transfer of the Company’s license to the
 M-III Tools to any successor to the Company approved by the Court. The Client acknowledges
 and agrees that the M-III Tools are provided to the Client on an “as is” basis and without any
 warranty or condition of any kind (whether express, implied or otherwise), and including without
 limitation any implied warranty of merchantability or fitness for a particular purpose. The
 provisions of this Section shall survive the termination or expiration of this Agreement.

           11. Indemnification. The Client hereby agrees to indemnify and hold harmless M-III and
 its affiliates, equity holders, partners, directors, employees, agents, representatives and contractors
 to the extent described in Annex I to this Agreement, with such Annex I being incorporated herein
 by reference and constituting an integral and enforceable part of this Agreement. The provisions
 of this Section (including, without limitation, the provisions of Annex I) shall survive the
 termination or expiration of this Agreement.

         12. Limitation on Damages. In no event shall M-III or any other Indemnitee be liable to
 the Client or its affiliates, successors, or any person claiming on behalf of or in the right of the
 Client (including the Client’s owners, parents, affiliates, directors, officers, employees, agents,
 security holders, or creditors) for (i) any amount which, when taken together with all losses for
 which M-III and the Indemnitee are liable in connection with this Agreement or the Engagement,
 would exceed the amount of fees for the Services actually received by M-III from the Client in
 connection with the Engagement during the immediately preceding 12 months or (ii) any special,
 consequential, incidental or exemplary damages or loss (or any lost profits, savings or business
 opportunity) (collectively, the “Liability Cap”). This paragraph shall apply regardless of the nature
 of any claim(s) (including claims based on contract, statute, negligence, tort, strict liability or
 otherwise), regardless of any failure of the essential purpose of any remedy and whether or not M-
 III was advised of the possibility of the damage or loss asserted, but shall not apply to the extent
 finally determined by final and non-appealable judgment of a court of competent jurisdiction to be
 prohibited by applicable law. For the avoidance of doubt, the Parties hereby irrevocably agree that
 the Liability Cap is intended to be the total limit of liability for M-III and all other Indemnitee in



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 the aggregate for any and all claims or demand by anyone in connection with this Agreement, the
 Services and the Engagement, including without limitation any liability to the Client and to any
 others making claims relating to the Services and the Engagement. Any such claimants shall
 allocate among themselves any amounts payable by M-III, but the failure of the claimants to reach
 such an agreement shall not affect the enforceability of the Liability Cap. Under no circumstances
 shall the collective liability of M-III and the other Indemnitee in connection with this Agreement
 exceed the Liability Cap. The provisions of this Section shall survive the termination or expiration
 of this Agreement.

         13. Client Acknowledgement. The Client hereby acknowledges and agrees that M-III may,
 in the ordinary course of its business, serve clients who are competitive with, or have conflicting
 interests with, the Client. Consistent with its confidentiality obligations hereunder and its
 confidentiality obligations to its other clients, M-III will not advise or consult to the Client with
 respect to any aspect of M-III’s engagement or potential engagement with any other client,
 potential client or former client. Similarly, M-III will not advise or consult to any other client,
 potential client or former client with respect to any aspect of the Engagement. M-III will maintain
 the confidentiality of the Confidential Information in accordance with the terms of this Agreement
 and, similarly, will not share confidential information of any client, potential client or former client
 of M-III with the Client. The provisions of this Section shall survive the termination or expiration
 of this Agreement.

         14. Miscellaneous. (a) This Agreement (i) constitutes the entire agreement of the Parties
 with respect to the subject matter hereof and supersedes any other communications, understandings
 or agreements (both written and oral) among the parties with respect to the subject matter hereof,
 and (ii) may be modified, amended or supplemented only by prior written agreement of each of
 the Parties.

         (b) M-III acknowledges that, in the event that a Case is commenced, (i) the continued
 retention of M-III by the Company will be subject to the approval of the Court and (ii) the Court
 may require changes in the terms of this Agreement as a condition to providing its approval. Any
 such changes will be subject to M-III’s approval, which shall not be unreasonably withheld.

         (c) The invalidity, illegality, or unenforceability of any provision in or obligation under
 this Agreement in any jurisdiction shall not affect or impair the validity, legality, or enforceability
 of the remaining provisions or obligations under this Agreement or of such provision or obligation
 in any other jurisdiction. If feasible, any such offending provision shall be deemed modified to be
 within the limits of enforceability or validity; provided that, if the offending provision cannot be
 so modified, it shall be stricken and all other provisions of this Agreement in all other respects
 shall remain valid and enforceable.

         (d) M-III’s services hereunder are personal in nature and may not be assigned without the
 written consent of the Client. The obligations of M-III hereunder are owing only to the Client and
 there shall be no third-party beneficiaries of the obligations of M-III hereunder.




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        (e) This Agreement may be executed in any number of counterparts, each of which when
 so executed shall be deemed an original, but all such counterparts shall constitute one and the same
 instrument, and all signatures need not appear on any one counterpart.

         (f) This Agreement and all controversies arising from or related to performance hereunder
 shall be governed by and construed in accordance with the laws of the State of New York
 applicable to contracts to be executed and performed within such state. The Parties hereby submit
 to the exclusive jurisdiction of and venue in the federal and state courts located in New York City
 and waive any right to trial by jury in connection with any dispute related to this Agreement.
 Notwithstanding the foregoing, during such time as the Court has jurisdiction over the Case, the
 Court shall have exclusive jurisdiction and venue with respect to any such dispute. The provisions
 of this paragraph shall survive the termination or expiration of this Agreement.

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                       AGREEMENTS REGARDING INDEMNIFICATION

 In consideration of M-III performing the Services for the benefit of the Client, the Client (the
 “Indemnitor”) shall indemnify M-III and its affiliates, equity holders, partners, directors,
 employees, agents, representatives and contractors, including past, present or future partners,
 principals and personnel of each (collectively hereinafter called the “Indemnitees”) against all
 costs, fees, expenses, damages, and liabilities (including defense costs) associated with any
 pending or threatened third party claim, action or proceeding (a “Claim”) relating to or arising as
 a result of the Engagement or the provision of the Services, the Client’s use or disclosure of the
 Deliverables, or this Agreement (“Losses”). This provision is intended to apply regardless of the
 nature of any Claim (including contract, statute, any form of negligence, whether of the Client, M-
 III, or others, tort, strict liability or otherwise), except to the extent such Losses are determined to
 be the result of M-III’s bad faith, gross negligence or willful misconduct.

 The Indemnitor shall not, without M-III’s prior written consent (which will not be unreasonably
 withheld) settle, compromise, or consent to the entry of any judgment in any pending or threatened
 Claim in respect of which indemnification could reasonably be sought hereunder (whether or not
 M-III or any other Indemnitee is an actual or potential party to such Claim), if such settlement,
 compromise, or consent does not include an unconditional release of each Indemnitee from all
 liability arising out of such Claim; provided, however, that the Indemnitor shall not enter into any
 such settlement, compromise or consent of a Claim without M-III’s prior written consent (which
 may be granted or withheld in M-III’s sole discretion) if such settlement, compromise or
 proceeding provides for injunctive relief against an Indemnitee or an admission of liability by an
 Indemnitee. The Indemnitor shall not be liable hereunder to any Indemnitee for any amount paid
 or payable in the settlement of any action, proceeding or investigation entered into by such
 Indemnitee without the Indemnitor’s written consent.

 Upon receipt by an Indemnitee of actual notice of a Claim against such Indemnitee in respect of
 which indemnity may be sought hereunder, such Indemnitee shall promptly notify the Indemnitor
 with respect thereto. In addition, an Indemnitee shall promptly notify the Indemnitor after any
 action is commenced (by way of service with a summons or other legal process giving information
 as to the nature and basis of the claim) against such Indemnitee in respect of which indemnity may
 be sought hereunder. In any event, failure to notify the Indemnitor shall not relieve the Indemnitor
 from any liability which the Indemnitor may have on account of this indemnity or otherwise,
 except to the extent, and only to the extent, that the Indemnitor shall have been materially
 prejudiced by such failure.

 Indemnitor shall advance all expenses indemnifiable hereunder that are reasonably incurred by or
 on behalf of each Indemnitee in connection with any Claim within thirty (30) days after receipt by
 Indemnitor of a statement or statements from Indemnitee requesting such advance or advances
 from time to time, whether prior to or after final disposition of such Claim. Such statement or
 statements shall reasonably evidence the expenses incurred by Indemnitee and shall include or be
 preceded or accompanied by a written undertaking by or on behalf of Indemnitee to repay any
 expenses advanced if it shall ultimately be determined that Indemnitee is not entitled to be




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 indemnified against such expenses. Any advances and undertakings to repay pursuant to this
 paragraph shall be unsecured and interest free.

 To the extent that the Indemnitor so elects, it shall be entitled to assume the defense, with counsel
 selected by the Indemnitor (and approved by M-III, with such approval not to be unreasonably
 withheld), of any action that is the subject of the proceeding in respect of which indemnity may be
 sought. After notice to the Indemnitees of its election to assume the defense thereof, the
 Indemnitor will not be liable to the Indemnitee under this Agreement for any expenses
 subsequently incurred by such Indemnitee in connection with the defense thereof except as
 otherwise provided below. Such Indemnitee shall have the right to employ counsel of its choice
 in such Claim, but the fees and expenses of such counsel incurred after notice from the Indemnitor
 of the assumption of the defense thereof shall be at the expense of the Indemnitee unless the
 employment of counsel by the Indemnitee has been authorized by the Indemnitor, in which case
 the reasonably incurred fees and expenses of such counsel of the Indemnitee shall be at the expense
 of the Indemnitor.

 The Client agrees that neither M-III nor any other Indemnitee shall have any liability (whether
 direct or indirect and regardless of the legal theory advanced) to the Client or any person or entity
 asserting claims on behalf of or in right of the Client caused by, relating to, based upon or arising
 out of (directly or indirectly) this Agreement or the Engagement, except for losses, claims,
 damages, penalties or liabilities incurred by the Client which are finally determined by a non-
 appealable judgment of a court of competent jurisdiction to have resulted primarily and directly
 from the bad faith, willful misconduct or gross negligence of M-III or any other Indemnites and
 do not exceed the Liability Cap.

 In the event that any M-III personnel are requested or required to appear as a witness in connection
 with any claim, action or proceeding relating to or arising as a result of the Engagement or the
 provision of the Services, the Client’s use or disclosure of the Deliverables, or this Agreement, the
 Indemnitor shall, to the extent permitted by applicable law, reimburse M-III for all reasonable and
 documented out-of-pocket expenses incurred by it in connection with such personnel appearing
 and preparing to appear as a witness, including, without limitation, the reasonable fees and
 disbursements of its legal counsel, and to compensate M-III at a rate equal to M-III’s then standard
 hourly rate for the relevant personnel for each day that such personnel is involved in preparation,
 discovery proceedings or testimony pertaining to such Claim. Additionally, M-III will have the
 right to obtain advice from independent legal counsel with respect to its actual or potential
 obligations and liability hereunder and the Client will promptly reimburse M-III for the reasonable
 out-of-pocket fees and expenses paid by M-III on account thereof.

 The provisions of this Annex I shall be deemed to be an integral part of this Agreement to which
 this Annex I is affixed and shall survive the termination or expiration of this Agreement for any
 reason. The provisions of this Annex I shall be binding upon the Client and its successors and
 assigns.




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